    Case 21-2949, Document 135, 08/30/2022, 3374291, Page1 of 71




21-2949-cv L , 21-2974-cv(CON)
          ( )
        United States Court of Appeals
                                    for the

                          Second Circuit

     CAPITOL RECORDS, LLC, a Delaware Limited Liability Company,
 CAROLINE RECORDS, INC., a New York Corporation, VIRGIN RECORDS
AMERICA, INC., a California Corporation, EMI BLACKWOOD MUSIC INC.,
      a Connecticut Corporation, EMI APRIL MUSIC INC., a Connecticut
Corporation, EMI VIRGIN MUSIC, INC., a New York Corporation, COLGEMS-
EMI MUSIC, INC., a Delaware Corporation, EMI VIRGIN SONGS, INC., a New
    York Corporation, EMI GOLD HORIZON MUSIC CORP., a New York
 Corporation, EMI UNART CATALOG INC., a New York Corporation, STONE
        DIAMOND MUSIC CORPORATION, a Michigan Corporation,
                      ––––––––––––––––––––––––––––––
                 (For Continuation of Caption See Inside Cover)
                      ––––––––––––––––––––––––––––––
          ON APPEAL FROM THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF NEW YORK


    FINAL FORM BRIEF FOR DEFENDANTS-APPELLEES


KATHLEEN M. SULLIVAN                          TODD ANTEN
QUINN EMANUEL URQUHART                        OWEN F. ROBERTS
  & SULLIVAN, LLP                             QUINN EMANUEL URQUHART
865 South Figueroa Street, 10th Floor           & SULLIVAN, LLP
Los Angeles, California 90017                 51 Madison Avenue, 22nd Floor
(213) 443-3000                                New York, New York 10010
                                              (212) 849-7000
 MICHAEL A. CHEAH
 VIMEO, INC.                                  RACHEL KASSABIAN
 330 West 34th Street, 5th Floor              QUINN EMANUEL URQUHART
 New York, New York 10001                       & SULLIVAN, LLP
 (212) 314-7300                               555 Twin Dolphin Drive, 5th Floor
                                              Redwood Shores, California 94065
                                              (650) 801-5000
                       Attorneys for Defendants-Appellees
 Case 21-2949, Document 135, 08/30/2022, 3374291, Page2 of 71




          EMI U CATALOG INC., a New York Corporation,
         JOBETE MUSIC CO., INC., a Michigan Corporation,
                                                 Plaintiffs-Appellants,
                              – v. –
VIMEO, INC., a Delaware Limited Liability Company, AKA Vimeo.com,
CONNECTED VENTURES, LLC, a Delaware Limited Liability Company,
                                                Defendants-Appellees,
                      DOES, 1-20 inclusive,
                                                           Defendants.
          Case 21-2949, Document 135, 08/30/2022, 3374291, Page3 of 71




                CORPORATE DISCLOSURE STATEMENT

      Defendant-Appellee Vimeo, Inc. is a publicly held corporation, and no

publicly held corporation owns 10% or more of its stock.

      Defendant-Appellee Connected Ventures, LLC is majority controlled by

Connected Ventures Management Holdings, LLC, and no publicly held

corporation owns 10% or more of its stock.




                                        i
              Case 21-2949, Document 135, 08/30/2022, 3374291, Page4 of 71




                                         TABLE OF CONTENTS

                                                                                                                    Page

CORPORATE DISCLOSURE STATEMENT ..........................................................i

TABLE OF AUTHORITIES ....................................................................................iv

PRELIMINARY STATEMENT ............................................................................... 1

COUNTER-STATEMENT OF ISSUES PRESENTED ........................................... 4

COUNTER-STATEMENT OF FACTS .................................................................... 5

         A.       The DMCA ............................................................................................ 5

         B.       Vimeo’s Video-Hosting Business ......................................................... 7

         C.       How The Vimeo Platform Works ......................................................... 9

         D.       Vimeo Staff’s Lack Of Expertise In Music Or Copyright Law ..........12

         E.       The Proceedings Below And This Court’s Interlocutory
                  Opinion ................................................................................................12

         F.       The Orders On Appeal ........................................................................15

                  1.       The District Court’s Grant Of Summary Judgment To
                           Vimeo On “Substantial Influence” ........................................... 15

                  2.       The District Court’s Grant Of Summary Judgment To
                           Vimeo On “Red Flag” Knowledge ...........................................17

SUMMARY OF ARGUMENT ...............................................................................19

ARGUMENT ...........................................................................................................23

I.       THE DISTRICT COURT CORRECTLY FOUND NO TRIABLE
         ISSUE OF FACT ON VIMEO’S LACK OF “SUBSTANTIAL
         INFLUENCE” OVER THE INFRINGING ACTIVITY ..............................23

         A.       Vimeo’s Ex Post Monitoring And Removal Of User-Uploaded
                  Videos Cannot Create A Triable Issue On Vimeo’s Lack Of
                  “Substantial Influence” Over The Infringing Activity ........................24


                                                            ii
              Case 21-2949, Document 135, 08/30/2022, 3374291, Page5 of 71




                  1.       No Reasonable Jury Could Find Vimeo Exerted
                           “Substantial Influence” Over The Infringing Activity .............24

                  2.       The Court Should Reject Plaintiffs’ Novel “Two-Step”
                           “Editorial Judgment” Test......................................................... 37

         B.       No Reasonable Jury Could Find Vimeo Received A “Financial
                  Benefit Directly Attributable” To The Infringing Activity.................44

II.      THE DISTRICT COURT CORRECTLY FOUND NO TRIABLE
         ISSUE OF FACT ON VIMEO’S LACK OF “RED FLAG”
         KNOWLEDGE ..............................................................................................49

         A.       Plaintiffs Must Prove An Ordinary Person Would Know The
                  Use Of Music In A Video Was “Obviously” Infringing.....................50

         B.       No Reasonable Jury Could Find That Plaintiffs Proved The Use
                  Of Music In Any Video-In-Suit Was “Obviously” Infringing
                  Under Vimeo I .....................................................................................51

                  1.       There Is Not Legally Sufficient Evidence Showing The
                           Use Of Music In Any Video-In-Suit “Obviously” Was
                           Not Fair .....................................................................................52

                  2.       There Is Not Legally Sufficient Evidence Showing The
                           Use Of Music In Any Video-In-Suit “Obviously” Was
                           Not Authorized..........................................................................56

CONCLUSION ........................................................................................................60

CERTIFICATE OF COMPLIANCE WITH RULE 32(a) ......................................61

CERTIFICATE OF FILING AND SERVICE ........................................................ 62




                                                           iii
              Case 21-2949, Document 135, 08/30/2022, 3374291, Page6 of 71




                                    TABLE OF AUTHORITIES

                                                                                                             Page
                                                     Cases
Andy Warhol Found. for Visual Arts, Inc. v. Goldsmith,
  11 F.4th 26 (2d Cir. 2021), cert. granted, No. 21-869 (Mar. 28, 2022) .............53
Brown v. Netflix, Inc.,
  855 F. App’x 61 (2d Cir. 2021) ...........................................................................54
BWP Media USA, Inc. v. Clarity Digital Grp., LLC,
  820 F.3d 1175 (10th Cir. 2016) .................................................................... 28, 43
Campbell v. Acuff-Rose Music, Inc.,
  510 U.S. 569 (1994) ............................................................................................53
Capitol Records, Inc. v. MP3tunes, LLC,
  821 F. Supp. 2d 627 (S.D.N.Y. 2011) .......................................................... 46, 48
  2013 WL 1987225 (S.D.N.Y. May 14, 2013) .....................................................46
Capitol Records, Inc. v. Naxos of Am., Inc.,
  372 F.3d 471 (2d Cir. 2004) ................................................................................29
Capitol Records, LLC v. Vimeo, LLC,
  826 F.3d 78 (2d Cir. 2016) .......................................................................... passim
Cariou v. Prince,
  714 F.3d 694 (2d Cir. 2013) ................................................................................53
Carter v. United States,
  530 U.S. 255 (2000) ............................................................................................46
Chapman v. Maraj,
  2020 WL 6260021 (C.D. Cal. Sept. 16, 2020) ....................................................54
Columbia Pictures Indus., Inc. v. Fung,
  710 F.3d 1020 (9th Cir. 2013) .............................................................................34
CoStar Grp., Inc. v. LoopNet, Inc.,
  373 F.3d 544 (4th Cir. 2004) ...............................................................................41
Davis v. Pinterest, Inc.,
  2022 WL 1316566 (N.D. Cal. May 3, 2022) ......................................................28
Downs v. Oath Inc.,
  385 F. Supp. 3d 298 (S.D.N.Y. 2019) .............................................. 27, 42, 47, 48



                                                        iv
              Case 21-2949, Document 135, 08/30/2022, 3374291, Page7 of 71




Ellison v. Robertson,
   357 F.3d 1072 (9th Cir. 2004) .............................................................................44
EMI Christian Music Grp., Inc. v. MP3tunes, LLC,
  844 F.3d 79 (2d Cir. 2016) ..................................................................................59
Feingold v. RageOn, Inc.,
  472 F. Supp. 3d 94 (S.D.N.Y. 2020) ...................................................................26
Greg Young Publ’g, Inc. v. Zazzle, Inc.,
  2017 WL 2729584 (C.D. Cal. May 1, 2017) .......................................................26
Havlish v. 650 Fifth Ave. Co.,
  934 F.3d 174 (2d Cir. 2019) ................................................................................45
In re Nortel Networks Corp. Secs. Litig.,
   539 F.3d 129 (2d Cir. 2008) ................................................................................38
Io Grp., Inc. v. Veoh Networks, Inc.,
   586 F. Supp. 2d 1132 (N.D. Cal. 2008)...................................... 28, 37, 39, 42, 43
Italian Book Corp. v. Am. Broad. Cos.,
   458 F. Supp. 65 (S.D.N.Y. 1978) ........................................................................54
Kinsley v. Udemy, Inc.,
  2021 WL 1222489 (N.D. Cal. Mar. 31, 2021) ....................................................44
Lennon v. Premise Media Corp.,
  556 F. Supp. 2d 310 (S.D.N.Y. 2008) .................................................................54
Mavrix Photographs, LLC v. Livejournal, Inc.,
  873 F.3d 1045 (9th Cir. 2017) ...................................................................... 27, 34
McKinney v. Alabama,
  424 U.S. 669 (1976) ............................................................................................40
Metro-Goldwyn-Mayer Studios Inc. v. Grokster, Ltd.,
  545 U.S. 913 (2005) ............................................................................................24
Obodai v. Demand Media, Inc.,
  522 F. App’x 41 (2d Cir. 2013) ...........................................................................28
  2012 WL 2189740 (S.D.N.Y. June 13, 2012) .....................................................28
Perfect 10, Inc. v. Cybernet Ventures, Inc.,
  213 F. Supp. 2d 1146 (C.D. Cal. 2002) ................................ 16, 24, 26, 27, 31, 36
Red Label Music Publ’g, Inc. v. Chila Prods.,
  388 F. Supp. 3d 975 (N.D. Ill. 2019)...................................................................54



                                                         v
              Case 21-2949, Document 135, 08/30/2022, 3374291, Page8 of 71




Robinson v. Concentra Health Servs., Inc.,
  781 F.3d 42 (2d Cir. 2015) ..................................................................................58
Seltzer v. Green Day, Inc.,
   725 F.3d 1170 (9th Cir. 2013) .............................................................................53
Shapiro, Bernstein & Co. v. H.L. Green Co.,
  316 F.2d 304 (2d. Cir. 1963) ...............................................................................46
Sid Avery & Assocs., Inc. v. Pixels.com, LLC,
   2021 WL 736258 (C.D. Cal. Feb. 24, 2021) .......................................................26
Sketchworks Indus. Strength Comedy, Inc. v. Jacobs,
  2022 WL 1501024 (S.D.N.Y. May 12, 2022) .....................................................54
Stross v. Meta Platforms, Inc.,
   2022 WL 1843129 (C.D. Cal. Apr. 6, 2022) .......................................................49
Threshold Media Corp. v. Relativity Media, LLC,
  2013 WL 12331550 (C.D. Cal. Mar. 19, 2013) ..................................................54
UMG Recordings, Inc. v. Shelter Cap. Partners LLC,
 718 F.3d 1006 (9th Cir. 2013) ................................................................ 29, 43, 59
United States v. Ng Lap Seng,
  934 F.3d 110 (2d Cir. 2019) ................................................................................33
United States v. Olmeda,
  837 F. App’x 52 (2d Cir. 2020) ...........................................................................50
Ventura Content, Ltd. v. Motherless, Inc.,
  885 F.3d 597 (9th Cir. 2018) .......................................... 29, 32, 43, 45, 47, 49, 58
  2013 WL 11237204 (C.D. Cal. July 3, 2013) ........................................ 30, 37, 43
Viacom Int’l Inc. v. YouTube, Inc.,
  676 F.3d 19 (2d Cir. 2012) ......................................... 2, 16, 20, 25, 27, 29, 35, 39
  940 F. Supp. 2d 110 (S.D.N.Y. 2013) .................................. 25, 32, 33, 37, 42, 43
  718 F. Supp. 2d 514 (S.D.N.Y. 2010) .................................................................45
Wal-Mart Stores, Inc. v. Visa U.S.A., Inc.,
  396 F.3d 96 (2d Cir. 2005) ..................................................................................38
Wolk v. Kodak Imaging Network, Inc.,
  569 F. App’x 51 (2d Cir. 2014) ...........................................................................27
  840 F. Supp. 2d 724 (S.D.N.Y. 2012) .................................................... 27, 47, 48
  2011 WL 940056 (S.D.N.Y. Mar. 17, 2011).......................................................59




                                                       vi
               Case 21-2949, Document 135, 08/30/2022, 3374291, Page9 of 71



                                                      Statutes
17 U.S.C. § 512(c) .......................................................................................... 5, 6, 25
17 U.S.C. § 512(c)(1) .............................................................................................5, 6
17 U.S.C. § 512(c)(1)(A)(ii) ........................................................................... 3, 5, 13
17 U.S.C. § 512(c)(1)(B).................................................................................. passim
17 U.S.C. § 512(c)(2) .................................................................................................7
17 U.S.C. § 512(m) ............................................................... 7, 21, 31, 32, 33, 34, 59
17 U.S.C. § 512(i) ......................................................................................................7


                                           Legislative Authorities
H.R. Rep. 105-551 (II) (July 22, 1998) ...................................................................45
S. Rep. No. 105-190 (May 11, 1998) ...................................................................5, 45


                                               Other Authorities
4 NIMMER ON COPYRIGHT § 12B.04 (2022)..............................................................45
Antigone Davis, Advancing Our Policies on Online Bullying and Harassment,
 META, (Oct. 13, 2021) https://about.fb.com/news/2021/10/advancing-online-
 bullying-harassment-policies/ ..............................................................................43
Instagram, Community Guidelines, INSTAGRAM,
  https://help.instagram.com/477434105621119 ....................................................44
Edward Lee,
  Decoding the DMCA Safe Harbors, 32 COLUM. J.L. & ARTS 233 (2009) ..........46
LinkedIn, Violent And Graphic Content, LINKEDIN,
  https://www.linkedin.com/help/linkedin/answer/137374. ...................................44
TikTok, Community Guidelines, TIKTOK, https://www.tiktok.com/community-
  guidelines#34 ........................................................................................................44
Twitter, Hateful Conduct Policy, TWITTER, https://help.twitter.com/en/rules-and-
 policies/hateful-conduct-policy ............................................................................44
YouTube, Vaccine Misinformation Policy, GOOGLE,
 https://support.google.com/youtube/answer/11161123 .......................................43



                                                           vii
         Case 21-2949, Document 135, 08/30/2022, 3374291, Page10 of 71




                        PRELIMINARY STATEMENT

      This appeal arises from two orders by the District Court for the Southern

District of New York (Abrams, J.) interpreting the safe harbors of the Digital

Millennium Copyright Act of 1998 (“DMCA”), and granting Vimeo summary

judgment against claims of copyright infringement arising from its users’ videos.

In both orders, the district court dutifully applied this Court’s precedents—

including its earlier interlocutory ruling, 826 F.3d 78 (2d Cir. 2016) (“Vimeo I”)—

to find that, after thirteen years of litigation, Plaintiffs have yet to offer any

evidence of a triable issue of fact that Vimeo falls outside of the DMCA’s

capacious safe harbor. This has dragged on long enough—the Court should affirm.

      Vimeo operates an online platform that allows users to upload and share

videos. Plaintiffs, a group of music publishing and recording companies, sued

Vimeo for copyright infringement for hosting over 1,600 user-created, user-

uploaded videos that had audio components incorporating certain of Plaintiffs’

songs (the “Videos-in-Suit”). Plaintiffs purposefully did not avail themselves of

the DMCA’s notice-and-takedown regime by sending Vimeo notices for any

Video-in-Suit. Instead, Plaintiffs sued Vimeo in pursuit of a bonanza of statutory

damages. This gambit has failed along with Plaintiffs’ legal arguments.

      Plaintiffs argue in essence that: (1) because Vimeo removed some user-

uploaded videos for copyright and other reasons, it is per se ineligible for safe



                                        1
          Case 21-2949, Document 135, 08/30/2022, 3374291, Page11 of 71




harbor; and (2) whenever a Vimeo employee comes across any video containing

music, she must remove it on sight for Vimeo to retain safe harbor. Each point

reprises arguments the Court already squarely rejected in Vimeo I.             Service

providers like Vimeo do not fall outside safe harbor merely because they take steps

to remove some content containing copyrighted material, nor must they remove

every such piece of content after an employee stumbles across it. But here we are

again, with Plaintiffs asking the Court to adopt new legal tests and backtrack on its

earlier rulings. The Court should not do so.

      “Right and Ability to Control.” Plaintiffs argue that Vimeo does not

qualify for safe harbor because it had the “right and ability to control” the allegedly

infringing activity at issue (i.e., the presence of music in the Videos-in-Suit) under

17 U.S.C. § 512(c)(1)(B).       But the “right and ability to control” requires

“something more than the ability to remove or block access to materials posted on

a service provider’s website.” Viacom Int’l, Inc. v. YouTube, Inc., 676 F.3d 19, 38

(2d Cir. 2012) (quotations omitted). Rather, the provider must “exert[] substantial

influence on the activities of users.” Id. To date, the only two cases to have found

even a triable fact on this issue both involved platforms that prescreened every

user submission and refused to publish materials that did not comply with the

platform’s strict requirements. No such prescreening occurred here; rather, as with

the vast majority of platforms that host user content, “[Vimeo’s] [u]sers post



                                          2
          Case 21-2949, Document 135, 08/30/2022, 3374291, Page12 of 71




videos onto the website without the intervention or active involvement of Vimeo

staff, and Vimeo staff do not watch or prescreen videos before they are made

available on the website.” Vimeo I, 826 F.3d at 84. This should end the matter.

      Plaintiffs seek to upend this settled precedent with a new test that would

withdraw safe harbor whenever an online platform exercises “editorial judgment”

by removing material after it has been posted by its users and made available on

the platform. No court has ever adopted Plaintiffs’ ex post test, and with good

reason: it defies the statutory text, flouts Viacom (and the law of other circuits),

and would disqualify any platform that engages in any form of content

moderation—such as banning harassment, misinformation, and a host of other

unwanted conduct. In other words, Plaintiffs would have the Court construct a rule

punishing platforms for removing injurious and unsuitable content, while leaving

safe harbor open only to those that engage in no moderation of any sort.

      “Red Flag” Knowledge. Plaintiffs seek a do-over of this Court’s 2016

decision with respect to whether Vimeo was “aware of facts or circumstances from

which infringing activity is apparent” in certain Videos-in-Suit.          17 U.S.C.

§ 512(c)(1)(A)(ii) (the DMCA’s “red flag” provision). The Court should decline

this invitation.   In Vimeo I, this Court held that a Vimeo employee’s mere

awareness that a video contains copyrighted music is not enough to carry

Plaintiffs’ burden of establishing that infringement was “obvious,” because she



                                         3
          Case 21-2949, Document 135, 08/30/2022, 3374291, Page13 of 71




“cannot be expected” to know whether the use of such music was a fair use or

licensed. 826 F.3d at 96-97. On remand, Plaintiffs submitted evidence that, like

before, at most showed Vimeo’s awareness of the presence of copyrighted music in

these videos, not infringement (let alone “obvious” infringement). Without any

evidence that infringement would have been “obvious” to an ordinary person with

no specialized knowledge in music or copyright law, the district court granted

Vimeo summary judgment on the 281 user-uploaded videos that Vimeo employees

saw in whole or in part. On appeal, Plaintiffs still fail to identify any triable issue

that the music in any of these videos was “obviously” not a fair use or licensed.

       Effectively conceding the point, Plaintiffs move the goalposts: they propose

a new “legal rule” that “using a song without a license infringes copyright.” Br.

62. But Vimeo I forecloses this argument—this Court already held that Vimeo’s

mere awareness that a video contains music is legally insufficient to deny Vimeo

summary judgment on whether infringement was “obvious.” The Court should not

revisit that ruling.

              COUNTER-STATEMENT OF ISSUES PRESENTED

1.     Whether, under 17 U.S.C. § 512(c)(1)(B), Vimeo: (a) had the “right and

       ability to control” the infringing activity at issue in videos uploaded by its

       users; and (b) if so, received a “financial benefit directly attributable” to that

       infringing activity.



                                           4
           Case 21-2949, Document 135, 08/30/2022, 3374291, Page14 of 71




2.    Whether Vimeo had “red flag” knowledge that any use of Plaintiffs’ music

      in any Video-in-Suit was “obviously” infringing under 17 U.S.C.

      § 512(c)(1)(A)(ii), as interpreted by Vimeo I.

                      COUNTER-STATEMENT OF FACTS

      As this case has already come before the Court in Vimeo I, Vimeo limits its

recitation of facts to those relevant to this appeal.

      A.     The DMCA

      Title II of the DMCA provides “[l]imitations on liability relating to material

online” for service providers through a series of safe harbors. Congress recognized

that, “without clarification of their liability, service providers may hesitate to make

the necessary investment in the expansion of the speed and capacity of the

Internet” because “[i]n the ordinary course of their operations service providers

must engage in all kinds of acts that expose them to potential copyright

infringement liability.” S. Rep. No. 105-190, at 8 (May 11, 1998).

      Section 512(c) limits the liability of service providers such as Vimeo that

store materials at the direction of their users. 17 U.S.C. § 512(c)(1). A key feature

of this safe harbor is its “notice-and-takedown regime”—a “compromise, which,

on the one hand, augments the protections available to copyright owners, and, on

the other, insulates service providers from liability for infringements of which they

are unaware, contained in material posted to their sites by users, so as to make it



                                            5
         Case 21-2949, Document 135, 08/30/2022, 3374291, Page15 of 71




commercially feasible for them to provide valuable Internet services to the public.”

Vimeo I, 826 F.3d at 82-83.

      Section 512(c) provides in relevant part:

            (c)(1) In general.—A service provider shall not be liable
            for monetary relief, or, except as provided in subsection
            (j), for injunctive or other equitable relief, for
            infringement of copyright by reason of the storage at the
            direction of a user of material that resides on a system or
            network controlled or operated by or for the service
            provider, if the service provider—

                 (A)

                       (i)    does not have actual knowledge that the
                              material or an activity using the material
                              on the system or network is infringing;

                       (ii)   in the absence of such actual knowledge,
                              is not aware of facts or circumstances
                              from which infringing activity is
                              apparent; or

                       (iii) upon obtaining such knowledge or
                             awareness, acts expeditiously to remove,
                             or disable access to, the material;

                 (B) does not receive a financial benefit directly
                     attributable to the infringing activity, in a case
                     in which the service provider has the right and
                     ability to control such activity; and

                 (C) upon notification of claimed infringement as
                     described in paragraph (3), responds
                     expeditiously to remove, or disable access to,
                     the material that is claimed to be infringing or
                     to be the subject of infringing activity.

17 U.S.C. § 512(c)(1)(A)-(C).


                                          6
           Case 21-2949, Document 135, 08/30/2022, 3374291, Page16 of 71




      And while the DMCA requires service providers to do (or not do) many

other things,1 it expressly prohibits the conditioning of safe harbor upon “a service

provider monitoring its service or affirmatively seeking facts indicating infringing

activity.” 17 U.S.C. § 512(m)(1). For example, if a service provider voluntarily

engages in monitoring to locate and remove certain material on its platform, this

does not obligate it to also monitor for other forms of infringing material. Vimeo I,

826 F.3d at 98 (“We see no reason why Vimeo’s voluntary undertaking to monitor

videos for infringement of visual material should deprive it of the statutory

privilege not to monitor for infringement of music.”).

      B.     Vimeo’s Video-Hosting Business

      Vimeo operates an online video-hosting and video-sharing platform, located

at http://www.vimeo.com. SPA2. 2 Launched in 2005, Vimeo allows users to

upload, share and view original videos. SPA2. Vimeo emphasizes originality,

requiring that its users upload only videos they created or participated in creating.

SPA2.




1
   These include, for example, designating a copyright agent to receive takedown
notices and implementing a policy for terminating accounts of “repeat” infringers.
17 U.S.C. §§ 512(c)(2), (i). None of those other requirements is at issue here.
2
    Vimeo, Inc. (“Vimeo”) is the owner and operator of the Vimeo online platform.
Its co-defendant, Connected Ventures, LLC, is no longer involved in Vimeo or its
operations. JA194 (¶3).



                                         7
         Case 21-2949, Document 135, 08/30/2022, 3374291, Page17 of 71




      “Vimeo has had great success as a site for the storage and exhibition of

videos.” Vimeo I, 826 F.3d at 84. As of September 2012, it hosted over 31 million

videos and had 12.3 million registered users in 49 countries uploading about

43,000 new videos every day. Id.; JA127-28 (¶7); JA201 (¶18). As of 2012, the

total number of videos ever uploaded to Vimeo exceeded 45.5 million. JA127-28

(¶7); JA201 (¶18). Today, Vimeo has over 260 million registered users worldwide,

with about 350,000 new videos added every day. See https://vimeo.com/about

(last accessed July 11, 2022). There have been over 100 billion views of videos

posted on Vimeo. Id.

      The videos hosted by Vimeo are diverse, including home videos as well as

original movies, animation, documentaries, shorts, and inspirational works

uploaded by artists, politicians, educational institutions and entertainment and

music companies. SPA2; JA119-22 (¶¶5-12); JA201 (¶17). As of 2012, Vimeo

accountholders included the White House, CNN, Yale Law School, the Republican

Governors Association, award-winning filmmakers, and prominent musicians—

including those who have been associated with Plaintiffs, such as Beyoncé, Katy

Perry, and Coldplay. JA120-22 (¶¶6-12).

      Anyone with an Internet connection can view a public video on Vimeo for

free. SPA3; JA196 (¶7). To upload a video, however, a user must first register for

an account.   SPA3; JA197 (¶9).      “Vimeo offers two forms of membership



                                        8
           Case 21-2949, Document 135, 08/30/2022, 3374291, Page18 of 71




accounts—basic (free) and paid subscription services,” which offer members

additional benefits. Vimeo I, 826 F.3d at 85; SPA3; JA212 (¶¶61-62). The “vast

majority” of Vimeo’s revenue comes from these subscriptions. Vimeo I, 826 F.3d

at 85; JA212 (¶61). “A registered user has the ability to note her ‘likes’ or

comment on videos, subscribe to ‘groups’ of users with common interests, and

subscribe to or create ‘channels’ of videos based on themes.” Vimeo I, 826 F.3d at

85. As of 2012, there were about 354,000 channels and 131,450 groups on Vimeo.

JA1119 (¶36); JA439-40 (¶16).

      C.     How The Vimeo Platform Works

      All Vimeo users must accept its Terms of Service. Vimeo I, 826 F.3d at 84;

JA197 (¶9). The Terms of Service contain various content-related requirements

for what kinds of videos are permissible to upload on Vimeo, including that the

user: (1) agrees not to upload videos that infringe any third party’s copyrights; and

(2) has all necessary rights for any content she uploads. Vimeo I, 826 F.3d at 84;

JA197 (¶9); SPA4; JA70-71 (¶¶2-5); JA91-92; see also JA450-51 (¶11). Users

must also comply with Vimeo’s Community Guidelines, which are incorporated

into the Terms of Service.     SPA4; JA71 (¶¶6-7); JA95-96. The Community

Guidelines: (1) reiterate that the user must have created or participated in the

video, and must “own or hold all necessary rights (copyrights, etc.) to your video”;

and (2) prohibit users from uploading certain types of content—for example,



                                         9
         Case 21-2949, Document 135, 08/30/2022, 3374291, Page19 of 71




videos that “incite hatred,” are “defamatory,” pertain to “multi-level marketing” or

“get-rich-quick” schemes, or are “captures of video games or gameplay.” JA95-

96; see also JA71-72 (¶¶8-9); JA98-99.

      The process of uploading a video is initiated by the user and entirely

automated. JA128 (¶10). It is undisputed that “[u]sers post videos onto the

website without the intervention or active involvement of Vimeo staff, and Vimeo

staff do not watch or prescreen videos before they are made available on the

website.” Vimeo I, 826 F.3d at 84; SPA5 (similar); JA198 (¶12). This is no

surprise—it would not be possible (let alone practicable) for Vimeo to prescreen

and assess the tens of thousands of videos users upload daily for particular content

before they are made available for viewing. SPA5; JA196 (¶8); JA128, JA130

(¶¶10, 18); JA76 (¶14). Because Vimeo does not prescreen, “users have the

technical ability to upload videos that do not comply with the rules.” Vimeo I, 826

F.3d at 84; see also JA197-98 (¶11); SPA5 (“a user has the technical ability to

upload any video content whether or not it complies with” Vimeo’s rules).

      Vimeo does, however, moderate its website and proactively remove material

that has already been uploaded if Vimeo determines the material violates its Terms

of Service or Community Guidelines. SPA5; JA132-33 (¶¶23-28); JA76-77 (¶¶15-

16). As of September 2012, a 16-person Community Team, assisted by computer

programs (“Mod Tools”), was tasked with this responsibility, among other things.



                                         10
         Case 21-2949, Document 135, 08/30/2022, 3374291, Page20 of 71




Vimeo I, 826 F.3d at 84-85; SPA5. Vimeo voluntarily has removed thousands of

videos for violating its Terms of Service or Community Guidelines, including

“rips” (unaltered copies) of movies, television shows, and official music videos,

even without receiving a takedown notice. SPA5; JA206-07 (¶30); JA77 (¶16);

JA449 (¶5); JA133 (¶¶27-28); Vimeo I, 826 F.3d at 84-85.

      Vimeo staff may watch, “like” and/or comment on certain videos they

encounter in the course of their own use of the platform. SPA29. In discrete

instances, certain Vimeo staff also may “bury” or “whitelist” a particular video or

account.3 JA434-37 (¶¶2-9). But by any account, Vimeo staff have “discretionary

and sporadic interactions with videos on the Website.” SPA44. For example, as of

November 2012, Vimeo staff gave just 0.2% of all “likes” and 1.6% of all

comments on Vimeo (including comments on non-video pages). SPA44; JA439

(¶15).4 While Vimeo staff have placed some videos they saw and liked in a “Staff

Picks” channel, that was just one of the 354,000 channels on Vimeo in 2012.

SPA44; JA439-40 (¶16). These statistics demonstrate that Vimeo’s “degree of




3
   “Burying” means those videos would not appear in the “Discovery” tab on the
platform, and “whitelisting” means the “flagging” function for those videos would
be disabled. JA434-37 (¶¶2-9).
4
   Vimeo staff also uploaded fewer than 0.005% of all videos on Vimeo, including
those they uploaded before becoming employees. JA439 (¶15).



                                        11
           Case 21-2949, Document 135, 08/30/2022, 3374291, Page21 of 71




influence” over user activities “is far from substantial; indeed, it is rather arguably

de minimis.” SPA44.

      D.     Vimeo Staff’s Lack Of Expertise In Music Or Copyright Law

      There is no evidence that the 16-person Community Team tasked with

enforcing Vimeo’s Terms of Service and Community Guidelines—or any Vimeo

employee who interacted with any Video-in-Suit—held a legal or licensing

position at Vimeo, or had specialized knowledge of music licensing or copyright

law. JA1171-72 (¶¶4-5). To the contrary, Vimeo staff repeatedly disclaimed any

specialized knowledge in these areas—particularly regarding the law surrounding

use of music in otherwise original, personal videos.         JA1172-76 (¶¶6(a)-(h))

(detailing testimony). Lacking such expertise, Vimeo employees emphasized they

did not know and could not determine whether the uploader of a Video-in-Suit

needed permission or had permission to use the music contained in it. JA1178-80

(¶¶10(a)-(e)) (detailing testimony).

      E.     The Proceedings Below And This Court’s Interlocutory Opinion

      Plaintiffs filed these lawsuits against Vimeo in December 2009, alleging that

certain videos posted by Vimeo users, located at 199 specific URLs, infringed their




                                          12
          Case 21-2949, Document 135, 08/30/2022, 3374291, Page22 of 71




copyrights.5 While Plaintiffs never submitted a DMCA takedown notice to Vimeo

for any of those videos, Vimeo treated Plaintiffs’ complaints as takedown notices

and removed the videos. SPA53-54. After DMCA-focused discovery, the parties

filed cross-motions for summary judgment on Vimeo’s entitlement to DMCA safe

harbor for all 199 videos.

      In its September 18, 2013 Order, the district court in relevant part: (1)

granted Vimeo summary judgment on its “lack[] [of] the right and ability to control

infringing activity as that language has been defined by courts addressing

§ 512(c)(1)(B) of the safe harbor” (see further infra 15-17), SPA37; and (2) denied

Vimeo summary judgment in part as to certain videos on the ground that Vimeo

staff appeared to have viewed at least a portion of the video, and an employee’s

awareness of the mere presence of music in the video raised a triable issue as to

whether Vimeo “was aware of facts and circumstances that would make it

objectively obvious to a reasonable person that those videos were infringing” under

17 U.S.C. § 512(c)(1)(A)(ii), SPA29-33.6



5
   Capitol Records, LLC v. Vimeo, LLC, No. 09-cv-10101 (S.D.N.Y.) (sound
recordings); EMI Blackwood Music, Inc. v. Vimeo, LLC, No. 09-cv-10105
(S.D.N.Y.) (musical compositions).
6
   The district court granted Vimeo summary judgment as to the Videos-in-Suit
for which “there was no evidence that Vimeo employees had observed them.”
Vimeo I, 826 F.3d at 86. Plaintiffs have not appealed that ruling.



                                        13
         Case 21-2949, Document 135, 08/30/2022, 3374291, Page23 of 71




      In its December 31, 2013 Order, the district court declined to reconsider its

“red flag” ruling.   SPA64-70.     Ultimately, the court denied Vimeo summary

judgment on 18 of the 199 videos based solely on the “red flag” issue. SPA70. At

that time, the court also granted Plaintiffs’ motion to amend to add 1,476 more

videos to the case. SPA70-72. The district court certified and this Court granted

Vimeo’s petition for interlocutory review on whether Vimeo’s “viewing of a user-

generated video containing all or virtually all of a recognizable, copyrighted song”

can create a triable issue on red flag knowledge, and granted Plaintiffs’ cross-

petition on whether the evidence “showed willful blindness” to infringement by

Vimeo. Vimeo I, 826 F.3d at 86-87.

      On June 16, 2016, a unanimous panel of this Court (Leval, J., joined by Hall

and Lynch, JJ.) vacated the district court’s “red flag” ruling. Vimeo I, 826 F.3d at

100. Recognizing that “the burden falls on the copyright owner,” the Court held

that the “mere showing that a video posted by a user on the service provider’s site

includes substantially all of a recording of recognizable copyrighted music, and

that an employee of the service provider saw at least some part of the user’s

material, is insufficient to sustain the copyright owner’s burden of proving that the

service provider had … red flag knowledge of the infringement.” Id. at 95-96

(emphasis added).




                                         14
           Case 21-2949, Document 135, 08/30/2022, 3374291, Page24 of 71




      The Court explained that there are “many reasons” for this, including

because an employee: (1) “cannot be expected to know how to distinguish …

between infringements and parodies that may qualify as fair use,” id. at 97; and (2)

cannot “be automatically expected to know how likely or unlikely it may be that

the user who posted the material had authorization to use the copyrighted music,”

as “[e]ven an employee who was a copyright expert cannot be expected to know

when use of a copyrighted song has been licensed,” id. The Court concluded:

             Vimeo is entitled to summary judgment on those videos
             as to the red flag knowledge issue, unless plaintiffs can
             point to evidence sufficient to carry their burden of
             proving that Vimeo personnel either knew the video was
             infringing or knew facts making that conclusion obvious
             to an ordinary person who had no specialized knowledge
             of music or the laws of copyright.

Id. at 98 (emphasis added). The Court remanded the case to the district court.

      F.     The Orders On Appeal

             1.     The District Court’s Grant Of Summary Judgment To
                    Vimeo On “Substantial Influence”

      In a portion of the September 18, 2013 district court order that was not

addressed on interlocutory appeal, the court ruled that “Vimeo lacked the right and

ability to control infringing activity as that language has been defined by courts

addressing § 512(c)(1)(B) of the safe harbor.” SPA37.

      The court recognized that, because “the DMCA presupposes that service

providers have the ability to remove or block content,” the right and ability to


                                        15
          Case 21-2949, Document 135, 08/30/2022, 3374291, Page25 of 71




control requires “‘something more’ than the ability to remove or block content.”

SPA38 (quoting Viacom, 676 F.3d at 38). Rather, Viacom required the court to

determine whether “a reasonable juror could find that Vimeo ‘exert[ed] substantial

influence on the activities of [its] users.’” SPA38 (alterations in original) (quoting

Viacom, 676 F.3d at 38) (emphasis added).

      Relevant here, the court considered Perfect 10, Inc. v. Cybernet Ventures,

Inc., 213 F. Supp. 2d 1146 (C.D. Cal. 2002) (“Cybernet”), as an “analytical

guidepost[]” because it provided a “distinct example of conduct which the Second

Circuit has suggested could constitute ‘something more.’” SPA39. In Cybernet,

the service provider prescreened every participating website, and refused to allow

websites access to its system until they complied with its strict rules. SPA40

(citing Cybernet, 213 F. Supp. 2d at 1173). In contrast to the situation in Cybernet,

the district court found as to Vimeo that there existed “no triable issue as to the

exertion of substantial influence on user activity.” SPA45. The court thus granted

Vimeo summary judgment, finding each category of Plaintiffs’ evidence of

“something more” legally insufficient.

      First, regarding Vimeo’s use of filtering tools to “remov[e] undesirable

content from the Website” (such as gameplay videos), the district court found there

was no evidence Vimeo “had control over videos containing infringing music, or

any other content, beyond its ability to remove or block it upon discovery.”



                                         16
         Case 21-2949, Document 135, 08/30/2022, 3374291, Page26 of 71




SPA40-41, SPA43. Rather, “Vimeo leaves such editorial decisions in the hands of

its users.” SPA43.

      Second, the district court rejected Plaintiffs’ position that, by having the

discretion to “promote” particular videos (e.g., “liking,” leaving comments, or

including them in selected channels), Vimeo exerted “substantial influence” over

user activity. SPA41-42, SPA44. Specifically, the court found, “it is difficult to

imagine” how Vimeo could “exert substantial influence on approximately 12.3

million registered users uploading 43,000 new videos each day,” concluding that

any degree of influence “is far from substantial,” and “arguably de minimis.”

SPA44.

      Third, the district court found that “scattered examples” of occasional

communications between Vimeo staff and some individual users about the general

use of music in videos did not support a finding of Vimeo’s “control” over specific

infringing activity, evincing instead only those employees’ “attitudes towards

infringement or their knowledge of it.” SPA42-43, SPA45.

            2.       The District Court’s Grant Of Summary Judgment To
                     Vimeo On “Red Flag” Knowledge

      On remand from Vimeo I, the district court considered the 18 videos

previously before it as well as 289 more videos in the Plaintiffs’ amended

complaints with which Vimeo employees purportedly “interacted,” resulting in a




                                        17
         Case 21-2949, Document 135, 08/30/2022, 3374291, Page27 of 71




total of 307 remaining Videos-in-Suit. SPA100 & n.1.7 In its May 28, 2021 Order,

the court faithfully applied Vimeo I’s “red flag” standard, recognizing that “the

burden rests with Plaintiffs to show, through affirmative evidence, that the Vimeo

employee who interacted with a specific video knew of facts sufficient to

determine that the use of copyrighted music was neither authorized nor fair.”

SPA105. Under that standard, the court granted summary judgment to Vimeo.

      First, the district court ruled that evidence that Vimeo employees were

“broadly familiar with the concept of copyright” could not permit an inference that

these employees had “the ability to distinguish infringements from authorized or

fair use with respect to any of the Videos-in-Suit.” SPA107-10.

       Second, considering Plaintiffs’ evidence of employees’ “interactions” with

specific videos (e.g., watching, commenting, “liking,” whitelisting, burying,

placing in channels) or their likelihood of awareness that a given video contained

music (e.g., “music credits,” duration, start time), the court found that such

evidence “say[s] nothing about the employee’s knowledge as to whether the use of

such music was authorized or fair.” SPA111-22. The court further recognized that

evidence of Plaintiffs’ earlier cease-and-desist letters to Vimeo regarding different




7
   On remand, Plaintiffs did not dispute their inability to satisfy their burden of
proof for red flag knowledge on the remaining 1,300+ videos. JA1122-23.



                                         18
         Case 21-2949, Document 135, 08/30/2022, 3374291, Page28 of 71




videos “does not suffice to indicate to an employee whether use of that artist’s

work in a subsequent video is authorized.” SPA118-19.

      The district court concluded that “Plaintiffs have not demonstrated that any

employee who viewed a Video-in-Suit possessed facts sufficient to determine

whether the copyrighted material incorporated therein was either authorized or

qualified as fair use,” and that Plaintiffs’ “lack of evidence in that respect is

dispositive.” SPA107, SPA122.

      The district court also ruled that 26 videos “uploaded or partially created by

Vimeo employees” raised factual issues as to whether those employees “stored

their content as ‘users’ within the statutory definition or as employees acting

within the scope of their employment.” SPA107.8 Plaintiffs voluntarily dismissed

those claims, and those videos are not at issue on this appeal. SPA130-35. As a

result, on appeal there are 281 Videos-in-Suit for which the district court granted

Vimeo summary judgment on red flag grounds.

                         SUMMARY OF ARGUMENT

      The district court correctly granted Vimeo summary judgment on its safe-

harbor defense by finding no triable issue of fact on: (1) Vimeo’s lack of



8
   Plaintiffs incorrectly represent that the district court found that Vimeo
employees “knew that videos they personally uploaded infringed copyright.” Br.
23. The court made no such ruling.



                                        19
          Case 21-2949, Document 135, 08/30/2022, 3374291, Page29 of 71




“substantial influence” over its users’ allegedly infringing activity; and (2)

Vimeo’s lack of “red flag” knowledge that the use of music in 281 Videos-in-Suit

was “obviously” infringing. This Court should affirm.

                                          I.

      The district court correctly found “no triable issue as to [Vimeo’s] exertion

of substantial influence on user activity.”

      First, this Court’s precedent establishes that, for a service provider to have

the “right and ability to control” “the infringing activity” at issue, 17 U.S.C.

§ 512(c)(1)(B), it “requires something more than the ability to remove or block

access to materials posted on a service provider’s website.” Viacom, 676 F.3d at

37-38 (quotations omitted). Rather, a copyright holder must show that “a service

provider exert[ed] substantial influence on the activities of users.”      Id. at 38

(quotations omitted). The only two cases to have ever found even a triable issue of

fact on this theory of liability both involved platforms that (unlike Vimeo here)

prescreened user submissions before they were published. In contrast, courts in

this Circuit and others uniformly recognize that a service provider’s ex post ability

to identify and remove unwanted content already uploaded by the user cannot

satisfy this standard as a matter of law. It is undisputed on this record that: (1)

Vimeo users post videos without intervention or involvement of Vimeo staff; (2)

Vimeo does not prescreen videos before they are published; and (3) users have the



                                          20
         Case 21-2949, Document 135, 08/30/2022, 3374291, Page30 of 71




ability to upload videos that do not comply with Vimeo’s rules.             And while

Plaintiffs complain that Vimeo located and removed certain unwanted material

(such as “gameplay” videos), 17 U.S.C. § 512(m)(1) prohibits conditioning

Vimeo’s safe harbor on whether, or the extent to which, it undertakes voluntary

monitoring efforts to find and remove certain material from its platform.

      Moreover, the Court should reject Plaintiffs’ invitation to adopt their newly

minted “two-step” test that would condition a platform’s safe harbor on whether it

exercises “editorial judgment” in removing unwanted material.           Not only did

Plaintiffs waive this argument below, but such a test has never been accepted by

any court, and with good reason: (1) it cannot be reconciled with §§ 512(c)(1)(B)

or 512(m); (2) it contradicts Viacom’s precedent; and (3) its boundless reach would

gut safe harbor protections by penalizing platforms for voluntarily removing

harmful content such as online bullying or vaccine misinformation, merely because

such moderation efforts involve the exercise of “editorial judgment.”

      Second, given Vimeo’s lack of the “right and ability to control” the allegedly

infringing content, the district court correctly declined to address whether Vimeo

received a “financial benefit directly attributable to the infringing material” under

§ 512(c)(1)(B), and this Court should do the same. But if the Court does address

the issue, the Court should affirm on this alternative ground, as Plaintiffs identify

no evidence of either: (1) revenue received by Vimeo directly attributable to the



                                         21
            Case 21-2949, Document 135, 08/30/2022, 3374291, Page31 of 71




presence of infringing music in a specific video; or (2) users who were drawn to

the Vimeo platform specifically because of the allegedly infringing material at

issue.

                                           II.

         The district court also correctly found that “none of the evidence adduced by

Plaintiffs on remand carries the high burden of raising a triable issue of fact as to

whether Vimeo employees” had red flag knowledge that the use of music in the

281 Videos-in-Suit was “obviously” infringing.

         First, the district court correctly recognized that, under Vimeo I, “the burden

rests with Plaintiffs to show, through affirmative evidence, that the Vimeo

employee who interacted with a specific video knew of facts sufficient to

determine that the use of copyrighted music was neither authorized nor fair.”

SPA105 (emphasis added).

         Second, applying this standard, the district court correctly found that

Plaintiffs failed to carry their burden so as to survive summary judgment for

Vimeo. As to fair use, Plaintiffs identify no evidence demonstrating that the use of

music in any of these 281 Videos-in-Suit was “obviously” not fair—not

surprisingly, as courts regularly recognize that the incorporation of a song into a

video can be fair. That alone is enough to affirm. Plaintiffs also identify no

evidence that the use of music in the 281 Videos-in-Suit was “obviously” not



                                           22
          Case 21-2949, Document 135, 08/30/2022, 3374291, Page32 of 71




licensed; while Plaintiffs cite generic statements indicating that licensing music

can be “confusing” or “painful,” they offer no evidence that an ordinary person

would know the music in these videos was obviously unlicensed.

                                    ARGUMENT

I.    THE DISTRICT COURT CORRECTLY FOUND NO TRIABLE
      ISSUE OF FACT ON VIMEO’S LACK OF “SUBSTANTIAL
      INFLUENCE” OVER THE INFRINGING ACTIVITY

      Plaintiffs identify no analytical error in the district court’s conclusion that

Vimeo’s mere ex post monitoring and removal of certain videos uploaded by users

did not forfeit safe harbor. SPA37-45. Simply put, Vimeo did not prescreen the

videos that its users posted, much less participate in their creation; rather, Vimeo

found and removed videos users had already uploaded that violated Vimeo’s

Terms of Service or Community Guidelines. Courts uniformly rule that such

conduct provides no evidence of the “right and ability to control” allegedly

infringing activity.

      Dissatisfied with the actual legal standard, Plaintiffs urge the Court to adopt

a new test: if a service provider exercises “editorial judgment” by identifying and

removing any material for any “merits”-based reason, the whole platform loses

safe harbor. Br. 28-32. This unprecedented (and waived) test has no grounding in

the DMCA’s text or precedent, would be impossible to administer, and would

render safe harbor a dead letter.



                                        23
           Case 21-2949, Document 135, 08/30/2022, 3374291, Page33 of 71




      A.     Vimeo’s Ex Post Monitoring And Removal Of User-Uploaded
             Videos Cannot Create A Triable Issue On Vimeo’s Lack Of
             “Substantial Influence” Over The Infringing Activity

      The district court correctly found “no triable issue as to the exertion of

substantial influence on user activity.” SPA45. In granting summary judgment to

Vimeo on this issue, the district court examined two decisions as “analytical

guideposts”: Cybernet, 213 F. Supp. 2d 1146, and Metro-Goldwyn-Mayer Studios

Inc. v. Grokster, Ltd., 545 U.S. 913 (2005). SPA39. On appeal, Plaintiffs limit

their challenge to the district court’s Cybernet analysis (Br. 27-28 & n.5). Based

on that analysis, and drawing all factual inferences in Plaintiffs’ favor, the district

court correctly ruled that Vimeo was entitled to summary judgment that it did not

exert “substantial influence” over user activities such that Vimeo had “the right

and ability to control” its users’ allegedly infringing activity. SPA39-45.

             1.     No Reasonable Jury Could Find Vimeo Exerted
                    “Substantial Influence” Over The Infringing Activity

      The district court’s correct finding of “no triable issue as to the exertion of

substantial influence on user activity” was compelled by precedents that have

consistently holding that the mere ability to remove unwanted content after it is

uploaded cannot foreclose safe harbor. SPA45. These precedents teach that a

service provider’s decision to identify and remove certain content that its users

already have posted cannot constitute evidence of “substantial influence” over the




                                          24
          Case 21-2949, Document 135, 08/30/2022, 3374291, Page34 of 71




allegedly infringing activity, no matter what degree of “editorial judgment” it may

exercise in the process.

      Viacom provides the starting point.        There, this Court recognized that

§ 512(c)(1)(B) “depart[s] from the common law vicarious liability standard,” and

“requires something more than the ability to remove or block access to materials

posted on a service provider’s website,” an ability that § 512(c) “actually presumes

that service providers have.” 676 F.3d at 37-38 (quotations omitted, emphasis

added). Because the DMCA already requires a service provider to remove certain

materials, the ability to find and remove infringing videos cannot also “be a

disqualifier.” Id. at 37. Rather, a “right and ability to control” infringing activity

can only even arguably be established where “a service provider exert[ed]

substantial influence on the activities of users.” Id. at 38 (quotations omitted).

      On remand, the district court granted summary judgment to YouTube, ruling

that “the governing principle must remain clear: knowledge of the prevalence of

infringing activity, and welcoming it, does not itself forfeit the safe harbor. To

forfeit that, the provider must influence or participate in the infringement.”

Viacom Int’l Inc. v. YouTube, Inc., 940 F. Supp. 2d 110, 118 (S.D.N.Y. 2013)

(Stanton, J.) (emphasis added). The court rejected Viacom’s proposal to find

“something more” through “YouTube’s exercise of ‘ultimate editorial judgment

and control over the content available on the site,’” instead recognizing that, absent



                                          25
          Case 21-2949, Document 135, 08/30/2022, 3374291, Page35 of 71




prescreening, such a form of “influence on users is not participation in their

infringing activity, and does not amount to the required ‘control’ beyond the

normal ability of every service provider to decide what appears on its platform.”

Id. at 119 (quoting Viacom’s brief). The court concluded that the plaintiffs’

purported “evidence of control [went] no further than the normal functioning of

any service provider, and show[ed] neither participation in, nor coercion of, user

infringement activity.”    Id. at 120.   Despite the obvious similarities between

YouTube and Vimeo, Plaintiffs never even mention this decision.

      On appeal, Plaintiffs identify only two cases to have found even a triable

issue on a service provider’s “right and ability to control” users’ infringing content,

both of which turned on ex ante actions in the form of prescreening that distinguish

those cases from the record here.        Br. 33-34. 9 In Cybernet, the defendant

promulgated “detailed instructions regard[ing] issues of layout, appearance, and

content,” and “refused to allow sites to use its system until they comply with its

9
   Plaintiffs also cite inapposite decisions (Br. 34) where defendants sold products
they manufactured. See Greg Young Publ'g, Inc. v. Zazzle, Inc., 2017 WL
2729584, at *8 (C.D. Cal. May 1, 2017) (“Unlike eBay or Amazon, Zazzle’s role is
not limited to facilitating the sale of products owned and marketed by third parties.
Zazzle creates the products.”); Feingold v. RageOn, Inc., 472 F. Supp. 3d 94, 102
(S.D.N.Y. 2020) (“RageOn is an online retailer. Commonsense dictates that
RageOn had the ‘right and ability’ to control what it sold[.]”). Even companies
that create platforms for third-party sales of infringing physical goods benefit from
safe harbor if users “upload whatever images they choose.” Sid Avery & Assocs.,
Inc. v. Pixels.com, LLC, 2021 WL 736258, at *4 (C.D. Cal. Feb. 24, 2021).



                                          26
          Case 21-2949, Document 135, 08/30/2022, 3374291, Page36 of 71




dictates.” 213 F. Supp. 2d at 1173; id. at 1181-82 (“Cybernet prescreens sites”);

see also Viacom, 676 F.3d at 38 (Cybernet “refused access to users who failed to

comply with its instructions”).       Similarly, in Mavrix Photographs, LLC v.

LiveJournal, Inc., 873 F.3d 1045 (9th Cir. 2017), the Ninth Circuit found a triable

issue in light of “LiveJournal’s extensive review process,” including that

moderators reviewed each user submission “for content and other guidelines such

as infringement” before publication, rejecting “[n]early two-thirds of submitted

posts … including on substantive grounds.” Id. at 1059; see also id. at 1054, 1056

(LiveJournal “manually review[s] submissions and publicly post[s] only about one-

third of submissions,” in contrast to “other sites where users may independently

post content”). In short, in both Cybernet and Mavrix, the defendants acted (unlike

Vimeo here) as content gatekeepers by prescreening posts and vetting them ex ante.

      By contrast, courts in this Circuit uniformly find on summary judgment that

that ex post monitoring programs (like Vimeo’s) fall short of “something more.”

Indeed, “a right and ability to control must take the form of prescreening content,

rendering extensive advice to users regarding content and editing user content.”

Wolk v. Kodak Imaging Network, Inc., 840 F. Supp. 2d 724, 748 (S.D.N.Y. 2012)

(Sweet, J.) (emphasis added), aff’d, 569 F. App’x 51, 52 (2d Cir. 2014) (affirming

“substantially for the reasons stated by the district court”); see also, e.g., Downs v.

Oath Inc., 385 F. Supp. 3d 298, 301, 308 (S.D.N.Y. 2019) (Rakoff, J.) (no triable



                                          27
          Case 21-2949, Document 135, 08/30/2022, 3374291, Page37 of 71




issue where defendant’s employee “screened the [accused] article for offensive or

unlawful content” and “added content tags to the article’s metadata and a ‘related

video’ link,” ruling such “screening and modification” did not forfeit safe harbor

because it came after uploading and “contributors self-published their articles

directly to the website”); Obodai v. Demand Media, Inc., 2012 WL 2189740, at *2,

*8 (S.D.N.Y. June 13, 2012) (Castel, J.) (“[n]o evidence supports a conclusion that

the defendant exerted [as] close control over content” as in Cybernet,

notwithstanding contention that defendant “placed limitations on uploadable

content”), aff’d, 522 F. App’x 41, 42 (2d Cir. 2013) (affirming “substantially for

the reasons articulated by the district court”).

      Courts around the country agree.10 As the Ninth Circuit has confirmed, even

where a provider hosts infringing material, has the ability to remove it, and

implements filtering systems that could have searched for and found infringing

content, such facts (which mirror Plaintiffs’ assertions here) are not enough to



10
   See, e.g., Davis v. Pinterest, Inc., 2022 WL 1316566, at *15 (N.D. Cal. May 3,
2022) (summary judgment for defendant: “[u]sers upload content, and Pinterest
does not direct them to upload any specific content”); BWP Media USA, Inc. v.
Clarity Digital Grp., LLC, 820 F.3d 1175, 1181 (10th Cir. 2016) (same: where
“infringing content has merely gone through a screening or automated process, the
[service provider] will generally benefit from the safe harbor’s protection”); Io
Grp., Inc. v. Veoh Networks, Inc., 586 F. Supp. 2d 1132, 1153 (N.D. Cal. 2008)
(same: “there is no evidence that Veoh can control what content users choose to
upload before it is uploaded”).



                                           28
         Case 21-2949, Document 135, 08/30/2022, 3374291, Page38 of 71




create a triable issue on the “right and ability to control.” UMG Recordings, Inc. v.

Shelter Cap. Partners LLC, 718 F.3d 1006, 1030 (9th Cir. 2013).

      Ventura Content, Ltd. v. Motherless, Inc., 885 F.3d 597 (9th Cir. 2018), on

which Plaintiffs rely extensively (e.g., Br. 30-31, 39-40, 42), supports affirmance

here. The Ninth Circuit affirmed summary judgment for the defendant because (as

with Vimeo) “[n]othing in the record suggests that Motherless told its users what to

upload.” Id. at 613. And while Plaintiffs repeatedly cite one passing reference to

what Motherless did not do (see Br. 31, 39-40, but see infra 37-38 (addressing

“curation”)), a court’s citation of multiple facts supporting a conclusion does not

constitute a holding that the absence of any one fact alone would have resulted in a

different outcome. See Capitol Records, Inc. v. Naxos of Am., Inc., 372 F.3d 471,

480 (2d Cir. 2004) (noting “logical fallacy of assuming that the inverse of a

proposition is true”) (citing Raymond J. McCall, Basic Logic 125-26 (2d ed.

1952)).11 If anything, Motherless moderated content in ways that far exceed the

remit of Vimeo’s Community Team—it not only “select[ed] certain content to be

‘prominently featured’ on the website,” but also: (1) prescreened and approved all

user-created “groups” (i.e., categories of hosted content); (2) “remov[ed]



11
   Viacom similarly noted that hypothetical practices discussed in cases holding
“that control did not exist” do not equate to a holding that those practices “are
individually sufficient to support a finding of control.” 676 F.3d at 38 n.13.



                                         29
            Case 21-2949, Document 135, 08/30/2022, 3374291, Page39 of 71




unpopular groups or ones that violate[d] their Terms of Use”; and (3) “review[ed]”

images from every uploaded video “[w]ithin two to four days” for any information

“that would indicate that the … video contains illegal content or violates the Terms

of Use.”      Motherless, 2013 WL 11237204, at *2 (C.D. Cal. July 3, 2013)

(quotations omitted). Yet the district court and Ninth Circuit still found no triable

issue.

         Applying similar principles, the district court correctly found that there is

“no triable issue as to the exertion of substantial influence on user activity” here.

SPA45. It is undisputed that: (1) “users have the technical ability to upload any

video content to Vimeo,” JA197-98 (¶11); (2) “Vimeo makes the uploaded video

playable on Vimeo through fully automated means that do not involve the

intervention or active involvement of Vimeo staff,” JA196 (¶8); and (3) “Vimeo

does not pre-screen each video before it is uploaded to the Vimeo website,” JA198

(¶12); see also Vimeo I, 826 F.3d at 84 (“[u]sers post videos onto the website

without the intervention or active involvement of Vimeo staff, and Vimeo staff do

not watch or prescreen videos before they are made available on the website,” and

“users have the technical ability to upload videos that do not comply with the

rules”). Nor do Plaintiffs identify any facts indicating Vimeo ever participated in

its users’ infringement before they posted such videos, edited videos after they

were posted, or exerted substantial influence over what users chose to upload.



                                           30
          Case 21-2949, Document 135, 08/30/2022, 3374291, Page40 of 71




These undisputed facts alone establish that, as a matter of law, Vimeo meets the

safe harbor requirement in § 512(c)(1)(B). None of Plaintiffs’ arguments to the

contrary is availing.

      First, Plaintiffs err in attacking Vimeo’s proactive efforts to identify

unwanted content—that is, “the Community Team’s removal of certain content

from the Website with the assistance of Moderator Tools” (SPA43). Br. 42-45.

None of this involves prescreening that might amount to Vimeo’s controlling

users’ infringing activity. While Vimeo undertakes efforts to search for unwanted

content, its efforts are directed to content already uploaded. That is precisely the

sort of “monitoring” protected by § 512(m).

      Moreover, Vimeo’s efforts in this regard are limited to specific types of

content but are otherwise neutral as to the creative or other aspects of a video.

Vimeo does not, for example, remove videos and instruct users to re-upload them

with different camera angles or lighting. The district court correctly distilled the

difference between basic content moderation and “substantial influence”:

             Absent from this program are the characteristics the court
             found present in Cybernet’s monitoring system, including
             guidelines that dictated to users (i.e., the participating
             adult websites) “layout, appearance, and content,” and
             Cybernet’s “refus[al] to allow sites to use its system until
             they compl[ied] with [those] dictates.” Cybernet, 213 F.
             Supp. 2d at 1173. While Vimeo’s monitoring program
             aims to filter from the Website content that veers from its
             mission to provide a platform for user-created “creative
             works and personal moments,” it does not purport to, and

                                         31
          Case 21-2949, Document 135, 08/30/2022, 3374291, Page41 of 71




             in practice does not, exert substantial influence over the
             content of the uploaded material. To the contrary, Vimeo
             leaves such editorial decisions in the hands of its users.

SPA43 (emphasis added).       Plaintiffs further err in asserting the district court

misinterpreted Cybernet to disclaim “substantial influence” if a user made “any

‘editorial decisions’” about her post (Br. 42); the district court above did not refer

to “any” editorial decisions, but to “such editorial decisions” as those made by the

service provider in Cybernet: prescreening for “layout, appearance, and content.”

      Vimeo’s ex post monitoring of published videos falls within “the normal

ability of every service provider to decide what appears on its platform,” and so “is

not participation in [users’] infringing activity, and does not amount to the required

‘control.’” Viacom, 940 F. Supp. 2d at 119. Nor did the district court resolve any

genuine material issues of fact in Vimeo’s favor, as Plaintiffs assert. See Br. 42-48.

The undisputed facts discussed above rendered any such supposed “disputes”

(even if any were genuine) immaterial to the inquiry.

      Second, Plaintiffs err multiple times over in arguing that Vimeo’s voluntary

removal of “gameplay” videos demonstrates the exertion of “substantial influence”

over its users’ infringing activity. Br. 43-45. Locating and removing materials

that violate Vimeo’s Community Guidelines or Terms of Service fall squarely

within § 512(m)’s purpose of “expressly provid[ing] that [content] screening does

not deprive a website of safe harbor protection.” Motherless, 885 F.3d at 605; see



                                         32
          Case 21-2949, Document 135, 08/30/2022, 3374291, Page42 of 71




also, e.g., Viacom, 940 F. Supp. 2d at 120 (citing § 512(m) to find no safe harbor

violation based on YouTube’s choice to monitor some works and not others).

Otherwise, every service provider would be forced into a Hobson’s choice of either

giving up safe harbor or “stay[ing] out of the monitoring business altogether even

if monitoring efforts as to some website content might be deemed fruitful to the

aims of the service provider and the copyright holder alike.” SPA44. Plaintiffs’

unsupported insistence that, “once a provider” does some monitoring, § 512(m)

“no longer applies” (Br. 44) thus is foreclosed by § 512(m), as this Court already

held. See Vimeo I, 826 F.3d at 98 (“We see no reason why Vimeo’s voluntary

undertaking to monitor videos for infringement of visual material should deprive it

of the statutory privilege not to monitor for infringement of music.”).

      Moreover, Plaintiffs’ assertion turns on their mistaken insistence that the

Court can look to Vimeo’s overall “general practices,” rather than those involving

the specific allegedly infringing activity. Br. 29-30. But the text of the statute

refers to “the infringing activity,” not “activity” generally.            17 U.S.C.

§ 512(c)(1)(B) (emphasis added). Otherwise, the phrase “the infringing activity”

would be superfluous. See United States v. Ng Lap Seng, 934 F.3d 110, 123 (2d

Cir. 2019) (“statutory text should not be construed so broadly as to render other




                                         33
          Case 21-2949, Document 135, 08/30/2022, 3374291, Page43 of 71




statutory text superfluous”). 12   Thus, Vimeo’s “gameplay” removals—which

Plaintiffs concede are unrelated to music copyrights—shed no light on whether

Vimeo exerted “substantial influence” over “the infringing activity,” i.e., the use of

music in the Videos-in-Suit.

      Plaintiffs next err by mischaracterizing the district court’s opinion on this

point—the district court never “suggested that Section 512(m) precludes

considering Vimeo’s 2008 decision to eliminate gameplay videos” (Br. 43) or

relied on a “flat-out interpretation of disputed evidence” (Br. 45). Rather, the court

ruled that any dispute over this point was not germane because, “[i]n any event, it

does not necessarily follow [from Vimeo’s removal of gameplay videos] that

Vimeo had control over videos containing infringing music, or any other content,

beyond its ability to remove or block it upon discovery.” SPA43 (emphasis added).

Plaintiffs still fail to explain how Vimeo’s voluntary removal of however many

gameplay videos reflects anything other than “the ability to remove or block access




12
    Plaintiffs’ citation to two Ninth Circuit cases (Br. 30) suggesting that the Court
need only look at a service provider’s “general practices and procedures,” Mavrix,
873 F.3d at 1048 n.15, or the “overall relationship” between a service provider and
its users, Columbia Pictures Indus., Inc. v. Fung, 710 F.3d 1020, 1046 (9th Cir.
2013), cannot be squared with the statutory text, and neither case addressed the
plain text of § 512(c)(1)(B) on this point. And notably, Fung’s ruling turned on the
defendant’s “inducing activity like in [Grokster],” 710 F.3d at 1046, which
Plaintiffs disavow (Br. 28 n.5).



                                         34
         Case 21-2949, Document 135, 08/30/2022, 3374291, Page44 of 71




to materials posted on a service provider’s website,” which lacks the “something

more” required to lose safe harbor. Viacom, 676 F.3d at 38.

      Third, contrary to Plaintiffs’ suggestion, the district court did not err in

referring to “statistics” or to other undisputed facts demonstrating the absence of

evidence of Vimeo’s right and ability to control the allegedly infringing activity.

Br. 45-48. Plaintiffs identify no facts about Vimeo’s “discretionary and sporadic

interactions with videos on the Website” or its “scattered examples of

communication with users” placing in material dispute the undisputed evidence

that Vimeo ultimately leaves “editorial decisions in the hands of its users.”

SPA43-45. For example, there is no material dispute that Vimeo staff “interacted”

with only a tiny fraction of the videos that users uploaded to the platform—be it

through watching, “liking,” commenting, placing in channels, or in any other form.

See JA201 (¶18) (as of 2012, Vimeo had about 12.3 million registered users, with

43,000 new videos uploaded daily, and more than 31.7 million videos in its

database); JA1118-19 (¶¶33-35) (Vimeo employees uploaded fewer than 0.005%

of all videos, and had given about 0.2% of all “likes” and about 1.6% of all

comments on Vimeo); JA1119 (¶36) (there were about 354,000 channels and




                                        35
         Case 21-2949, Document 135, 08/30/2022, 3374291, Page45 of 71




131,450 groups on Vimeo). Given these figures, a small staff could not possibly

engage in pre-posting review of more than a trivial percentage of hosted videos.13

      In light of this daunting reality, Plaintiffs err in suggesting that Vimeo staff

really could have watched every video uploaded to its platform.            They first

misrepresent that, “[i]n Cybernet, a twelve-person staff reviewed ‘20 million

images’ ‘on participating web sites’” (Br. 46-47), when those “20 million images”

represented the total “available on participating web sites,” not the number of

images the staff actually reviewed, 213 F. Supp. 2d at 1158. And Plaintiffs ignore

that Cybernet, unlike Vimeo, “prescreened sites.” Id. at 1164, 1181-82. Plaintiffs

cannot create a factual dispute based solely on a single draft marketing pitch that

hyperbolically suggested Vimeo’s handful of employees somehow “literally

review[ed] every” video uploaded to the platform. Br. 37, 47. Even if that were

somehow true (and as a matter of pure math it cannot be),14 it still says nothing

about prescreening.



13
   Plaintiffs identify no facts that any different conclusion would be reached in
earlier years. See JA127 (¶6) (40,000 registered users in April 2007). In
December 2009, when Plaintiffs filed this action, Vimeo had 2.3 million registered
users uploading 11,000 new videos a day, while Vimeo had just 20 full-time
employees. JA127-28 (¶7); JA124 (¶22).
14
   See also, e.g., JA476 (118:19-23) (never a time where every video uploaded
was reviewed by a Vimeo employee); JA482-83 (223:20-224:4) (statement was
never accurate); JA124 (¶22); JA127-28 (¶7); JA439-40 (¶¶15-16).



                                         36
          Case 21-2949, Document 135, 08/30/2022, 3374291, Page46 of 71




      While the undisputed statistics confirm that there is no triable issue as to

Vimeo’s inability to exert “substantial influence” over the alleged infringing

activity by its users, they are by no means necessary to affirm. That is because

there is no dispute that Vimeo does not “prescreen” videos.               JA198 (¶12).

Accordingly, Vimeo’s post-upload activity, however modest or extensive, falls

within the “normal ability of every service provider to decide what appears on its

platform.” Viacom, 940 F. Supp. 2d at 118.

      For this reason, courts consistently recognize that the very features Plaintiffs

call “curation” (Br. 37-39, 46-48) are insufficient to raise a triable issue on the

right and ability to control. See, e.g., Motherless, 2013 WL 11237204 at *2 (no

triable issue where defendant “selects certain content to be ‘prominently featured’

on the website”); Viacom, 940 F. Supp. 2d at 121 (“YouTube employees regularly

selected clips to feature with conspicuous positioning on its homepage … No

reasonable jury could conclude from that evidence that YouTube participated in its

users’ infringing activity by exercising its editorial control over the site.”); Io Grp.,

586 F. Supp. 2d at 1136 (no triable issue although defendant’s “employees can and

do select videos to be featured on the ‘Featured Videos’ portion of [the] website”).

             2.     The Court Should Reject Plaintiffs’ Novel “Two-Step”
                    “Editorial Judgment” Test

      Because the district court faithfully applied this Court’s precedent to find no

triable issue over Vimeo’s lack of “substantial influence,” the Court need go no


                                           37
          Case 21-2949, Document 135, 08/30/2022, 3374291, Page47 of 71




further in order to affirm. It certainly need not consider the made-to-order “two-

step” “editorial judgment” test Plaintiffs propose, which: (1) is waived; (2) cannot

be reconciled with § 512(c)(1)(B)’s text; (3) flouts Circuit precedent; and (4)

would harshly penalize and disincentivize desirable investment in online services.

      First, as a threshold matter, Plaintiffs waived any argument that their new

test should control this case by failing to raise it below. Compare Br. 28-32

(proposing test), with JA136-91, JA1092-115 (Plaintiffs’ summary judgment

briefing with no reference to this two-step test or Vimeo’s “editorial judgment”).

“[W]here a party has shifted his position on appeal and advances arguments

available but not pressed below, … waiver will bar raising the issue on appeal.”

Wal-Mart Stores, Inc. v. Visa U.S.A., Inc., 396 F.3d 96, 124 n.29 (2d Cir. 2005)

(quotations omitted); see also In re Nortel Networks Corp. Secs. Litig., 539 F.3d

129, 133 (2d Cir. 2008) (argument made below merely “resembling” one presented

on appeal not sufficient to preserve issue). This rule counsels particular vigilance

here, where Plaintiffs ask the Court to upend an established legal regime governing

online expression.

      Second, Plaintiffs’ test does not provide a faithful, or even workable, means

of assessing a service provider’s “substantial influence” over the infringing activity.

Plaintiffs cite no authority whatsoever even proposing, much less adopting, their




                                         38
          Case 21-2949, Document 135, 08/30/2022, 3374291, Page48 of 71




test. See Br. 28-34. That absence of support is explained by the test itself, which

is incompatible with § 512(c)(1)(B).

      The first of Plaintiffs’ “steps” (Br. 28-30) is at war with the text of

§ 512(c)(1)(B). Plaintiffs postulate (Br. 28) that the service provider’s “control”

for the purposes of the state is a free-floating concept that merely requires some

sort of “relationship” between (i) its ability to control its “network” and (ii) its

users’ “infringing activity.” But the statute by its terms is concerned only with

whether a service provider “has the right and ability to control” “the infringing

activity” itself. 17 U.S.C. § 512(c)(1)(B). The inquiry is not whether a service

provider “controls” its entire platform (as virtually all do), but rather whether it

“controls” users’ specific conduct of posting infringing material, i.e., “exert[s]

substantial influence on the activities of users.” Viacom, 676 F.3d at 38; see also

Io Grp., 586 F. Supp. 2d at 1151 (“[T]he plain language of section 512(c) indicates

that the pertinent inquiry is not whether Veoh has the right and ability to control its

system, but rather, whether it has the right and ability to control the infringing

activity.”). See also supra 33-34 (inquiry turns on right and ability to control “the

infringing activity,” not overall platform).

      Plaintiffs’ second “step” (Br. 30-32)—asking whether a service provider

exercises “editorial judgment” in any manner over user-generated content on its

platform—fares no better.         Nothing in § 512(c)(1)(B) suggests that any



                                          39
         Case 21-2949, Document 135, 08/30/2022, 3374291, Page49 of 71




consideration by a service provider of the contents of works hosted on its platform

establishes “substantial influence” over users’ “infringing activity.”      To the

contrary, this Court already has recognized that Vimeo staff could have “many

different business purposes” in viewing videos, including “application of technical

elements of computer expertise, classification by subject matter, sampling to detect

inappropriate obscenity or bigotry, and innumerable other objectives having

nothing to do with recognition of infringing music in the soundtrack.” Vimeo I,

826 F.3d at 96 (emphasis added).        Plaintiffs misleadingly omit the Court’s

reference to “innumerable other objectives” from their quotation of this portion of

Vimeo I (Br. 31), and in any event ignore that identifying “obscenity or bigotry”

itself entails “editorial judgment.” See, e.g., McKinney v. Alabama, 424 U.S. 669,

688 (1976) (Brennan, J., concurring) (“judging obscenity … by its definition, calls

for an appraisal of material according to the average person’s application of

contemporary community standards”).

      Rather than acknowledge the futility of this exercise, Plaintiffs double down

by asking the Court to then carve out exceptions to their own rule by “drawing [a]

line” between (i) “common activities” such as “removing child pornography” or

“basic site maintenance” and (ii) the amorphous exercise of “editorial judgment”

based on the “merits” (whatever that means).       Br. 31.    Plaintiffs provide no

guidelines for such arbitrary line-drawing, and their own example proves no line



                                        40
         Case 21-2949, Document 135, 08/30/2022, 3374291, Page50 of 71




exists. Plaintiffs suggest that operators of a website for real-estate listings would

not exercise “editorial judgment” if they were to “glance” at photographs “to

ensure they actually depict houses.” Br. 31. But the decision to restrict or regulate

uploaded content in such a manner—whether based on a “glance” or a searching

stare—is obviously editorial in nature (i.e., one based on content).       Plaintiffs

provide no sound limiting principle that distinguishes the removal of irrelevant

photos from the real estate website from the removal of child pornography or

gameplay videos—all involve removing materials because of their content, and

require a modicum of judgment.15

      What is more, under Plaintiffs’ test, enforcement of even the most

commonsense rules or guidelines would disqualify the entire platform from safe

harbor—even though they have nothing to do with “infringing activity”—because

any assessment of compliance requires “editorial judgment.”           According to

Plaintiffs, if an issue takes more than a “glance” to resolve, safe harbor is

unavailable. Plaintiffs’ standard would thus have impracticable consequences,

requiring a jury trial on safe harbor whenever a plaintiff claims post-upload review




15
   The real estate website at issue in CoStar Grp., Inc. v. LoopNet, Inc., 373 F.3d
544 (4th Cir. 2004), cited by Plaintiffs (Br. 31), did not even address the right and
ability to control third-party activity, but rather whether LoopNet’s conduct was
“volitional” for the purposes of its own direct liability. Id. at 555-56.



                                         41
          Case 21-2949, Document 135, 08/30/2022, 3374291, Page51 of 71




involved “judgment,” and thereby eviscerating the DMCA’s protections for service

providers.

      Finally, and notably, the district court in Viacom expressly considered and

rejected an “editorial judgment” test like the one Plaintiffs propose here. The

plaintiffs there argued that “YouTube’s exercise of ‘ultimate editorial judgment

and control over the content available on the site’” constituted substantial influence.

940 F. Supp. 2d at 119. The court rejected that attempt to impose liability on the

basis of a different “control” than that referenced in § 512(c)(1)(B), ruling that “the

normal ability of every service provider to decide what appears on its platform”

was insufficient and that “[n]o reasonable jury could conclude from that evidence

that YouTube participated in its users’ infringing activity by exercising its editorial

control over the site.” Id. at 119, 121. Plaintiffs do not acknowledge, let alone

distinguish, this decision.

      Third, Plaintiffs’ “editorial judgment” test cannot be squared with years of

cases finding safe harbor in the face of conduct indistinguishable from Vimeo’s.

Every “editorial judgment” by Vimeo that Plaintiffs highlight (Br. 37-42) merely

reflects the run-of-the-mill operations of a service provider, as prior cases granting

summary judgment confirm, including: (1) voluntary policies prohibiting certain

content, Io Grp., 586 F. Supp. 2d at 1150; (2) ex post screening of articles and

adding “content tags” to metadata, Downs, 385 F. Supp. 3d at 301; (3) post-upload



                                          42
         Case 21-2949, Document 135, 08/30/2022, 3374291, Page52 of 71




“curation” of videos “to avoid looking ‘like a dumping ground for copyrighted

stuff,’” Viacom, 940 F. Supp. 2d at 119, 121; (4) “select[ing] certain content to be

‘prominently featured’ on the website,” Motherless, 2013 WL 11237204 at *2,

aff’d, 885 F.3d 597; (5) “enforc[ing] its policies by removing content,” Io Grp.,

586 F. Supp. 2d at 1151; and (6) “issuing instructions” on recommended topics,

and encouraging adding photos to original content, BWP Media, 820 F.3d at 1181.

      Fourth, Plaintiffs’ proposed test would in practice disqualify from safe

harbor almost every platform that permits user-uploaded content. Safe harbor

exists because Congress “was loath to permit the specter of liability to chill

innovation that could also serve substantial socially beneficial functions.” UMG

Recordings, 718 F.3d at 1014. Yet Plaintiffs propose that any exercise by a service

provider of “editorial judgment” over how it hosts user submissions—for purposes

of assessing copyright infringement or anything else—should disqualify that

provider from safe harbor.     Br. 30.   Thus, according to Plaintiffs, a service
                                                             16
provider’s decision to remove vaccine misinformation,             online bullying, 17



16
   See, e.g., YouTube, Vaccine Misinformation Policy, GOOGLE, (last accessed
July 11, 2022), https://support.google.com/youtube/answer/11161123.
17
   See, e.g., Antigone Davis, Advancing Our Policies on Online Bullying and
Harassment,             META,             (Oct.            13,          2021),
https://about.fb.com/news/2021/10/advancing-online-bullying-harassment-
policies/.



                                         43
           Case 21-2949, Document 135, 08/30/2022, 3374291, Page53 of 71




“hateful” speech,18 dangerous challenges or stunts,19 some kinds of nudity but not

others (for example, as an “act of protest”),20 or gory or disturbing content21 should

disqualify the service provider from safe harbor for its users’ acts of copyright

infringement, whether or not the service provider was even aware such

infringements existed. That cannot be squared with the DMCA, which carefully

avoided discouraging such companies from monitoring the materials they store at

user direction.

      B.     No Reasonable Jury Could Find Vimeo Received A “Financial
             Benefit Directly Attributable” To The Infringing Activity

      Because Vimeo did not have the “right and ability to control” the allegedly

infringing activity, the district court correctly declined to address whether Vimeo

also received “a financial benefit directly attributable” to that activity. SPA37.

This Court likewise may affirm without reaching this issue. See, e.g., Kinsley v.

Udemy, Inc., 2021 WL 1222489, at *5 (N.D. Cal. Mar. 31, 2021); Ellison v.

Robertson, 357 F.3d 1072, 1079 n.10 (9th Cir. 2004). But if the Court reaches this


18
   See, e.g., Twitter, Hateful Conduct Policy, TWITTER, (last accessed July 11,
2022), https://help.twitter.com/en/rules-and-policies/hateful-conduct-policy.
19
   See, e.g., TikTok, Community Guidelines, TIKTOK, (last accessed July 11,
2022), https://www.tiktok.com/community-guidelines#34.
20
   See, e.g., Instagram, Community Guidelines, INSTAGRAM, (last accessed July
11, 2022), https://help.instagram.com/477434105621119.
21
   See, e.g., LinkedIn, Violent And Graphic Content, LINKEDIN, (last accessed July
11, 2022), https://www.linkedin.com/help/linkedin/answer/137374.



                                         44
         Case 21-2949, Document 135, 08/30/2022, 3374291, Page54 of 71




question, the undisputed facts show the absence of any “financial benefit directly

attributable” to the infringing activity and thus provide an alternative ground for

affirmance. See Havlish v. 650 Fifth Ave. Co., 934 F.3d 174, 183 n.10 (2d Cir.

2019) (Court may “affirm on any basis for which there is sufficient support in the

record”) (quotations omitted).

      It is clear from the text of the statute that the financial benefit must be

“directly attributable” to the infringing activity.      17 U.S.C. § 512(c)(1)(B)

(emphasis added). That is, the revenue at issue must be “distinctly” attributable to

the use of the challenged content in an infringing manner. Motherless, 885 F.3d at

613. For example, “a service provider conducting a legitimate business would not

be considered to receive a ‘financial benefit directly attributable to the infringing

activity’ where the infringer makes the same kind of payment as non-infringing

users of the provider’s service.”     4 NIMMER    ON   COPYRIGHT § 12B.04 (2022)

(quoting S. Rep. 105-190, at 44-45; H.R. Rep. 105-551 (II) (July 22, 1998), at 54);

Viacom, 718 F. Supp. 2d 514, 521 (S.D.N.Y. 2010) (similar).

      Seeking to change the test, Plaintiffs err in arguing that “‘direct financial

benefit’ has its common-law meaning” such that any “causal relationship” between

infringing activity and Vimeo’s eventual receipt of revenue is enough. Br. 49-50.

But the phrase “direct financial benefit” does not even appear in the statute. This

matters, as “financial benefit directly attributable to the infringing activity” is a



                                         45
          Case 21-2949, Document 135, 08/30/2022, 3374291, Page55 of 71




novel term of “Congress’s own creation.” Edward Lee, Decoding the DMCA Safe

Harbors, 32 COLUM. J.L. & ARTS 233, 241 (2009); see also Carter v. United States,

530 U.S. 255, 264 (2000) (“canon on imputing common-law meaning applies only

when Congress makes use of a statutory term with established meaning at common

law”). “[I]t is clear that the ‘direct financial benefit’ prong of the common law

vicarious liability standard is construed more broadly than it is under the DMCA.”

Capitol Recs., Inc. v. MP3tunes, LLC, 2013 WL 1987225, at *10 (S.D.N.Y. May

14, 2013).22

      Moreover, the statute’s text forecloses Plaintiffs’ reliance on general benefits

not distinctly attributable to the Videos-in-Suit. See Br. 52 (arguing Vimeo earned

“more revenue” because it attracted both infringers and non-infringers). That

Vimeo is an appealing platform cannot evidence a financial benefit “directly

attributable” specifically to the use of music in an infringing manner. See Capitol

Recs., Inc. v. MP3tunes, LLC, 821 F. Supp. 2d 627, 645 (S.D.N.Y. 2011) (“EMI

argues that infringing activity on Defendants’ sites acts as a draw and increases

22
    Shapiro, Bernstein & Co. v. H.L. Green Co., 316 F.2d 304 (2d. Cir. 1963) (cited
at Br. 50), is inapposite not only for this reason, but also because its facts bear no
resemblance to those here. Shapiro involved a dance hall that hired the record
sellers pursuant to written licenses, and received 10% to 12% of the gross profits
from its tenant’s sale of infringing works. Id. at 306-08. In contrast, Vimeo did
not hire users to post videos, “[a]ny member of the public with access to the
Internet can visit and watch a [public] video,” and Vimeo received no revenue
directly tied to a visitor watching an infringing video. JA196 (¶7).



                                         46
          Case 21-2949, Document 135, 08/30/2022, 3374291, Page56 of 71




user traffic. However, the financial benefit must be attributable to the infringing

activity.”); Motherless, 885 F.3d at 613 (prong not satisfied where “the more

[content] Motherless had, the more users it would attract, and more views would

lead to more advertising revenue” because “[t]he words ‘the’ and ‘directly’ in the

statute … must mean that some revenue has to be distinctly attributable to the

infringing material at issue”).

      There is no evidence Vimeo received a “financial benefit directly

attributable” to users’ posting of videos that use music in an infringing manner.

Plaintiffs do not challenge that “the vast majority of Vimeo’s revenues are derived

from sales of [member] subscriptions,” let alone dispute that such fees cannot

satisfy this prong. JA212 (¶61); Wolk, 840 F. Supp. 2d at 731 (defendant “received

the same payment” regardless of content).         Plaintiffs’ reliance on Vimeo’s

comparatively modest revenue from general advertising (Br. 50-52) is deficient as

a matter of law, for several reasons.

      First, Plaintiffs point to “advertising” Vimeo displayed, focusing on a single

sponsor (Carmex Lip Balm) of just one of Vimeo’s 354,000 channels. Br. 50-51;

JA1119 (¶36). Putting aside that a single sponsorship of a single channel is plainly

de minimis, “it is not enough for [Plaintiffs] to show that [Vimeo] ran commercial

advertisements on its website.      If that were sufficient, then practically every

revenue-generating website would satisfy” this prong. Downs, 385 F. Supp. 3d at



                                         47
          Case 21-2949, Document 135, 08/30/2022, 3374291, Page57 of 71




307. Fatally, Plaintiffs identify no evidence that any revenue Vimeo derived from

this sponsor was directly attributable to the specific presence of infringing music in

videos on that channel (versus attributable to, say, the presence of creative videos,

or even the general presence of music). See Wolk, 840 F. Supp. 2d at 748 (“no

evidence that [defendants] capitalize[] specifically because a given image a user

selects to print is infringing”); Capitol Recs., 821 F. Supp. 2d at 645 (similar).

Vimeo’s lump-sum payment for that sponsorship was the same regardless of

whether the use of music in any specific video a user placed on that channel was

infringing or not infringing (e.g., a fair use or authorized).23

      Similarly, while some brands advertised on Vimeo on a “cost-per-

impression basis” (Br. 51-52), these ads were placed across Vimeo’s entire site,

without regard to any page’s (or any video’s) specific content. JA445 (¶8); JA212-

13 (¶63); see Downs, 385 F. Supp. 3d at 307 (“HuffPost simply ran advertisements

on user-generated articles, some of which inevitably contained infringing

material”). Plaintiffs cite no evidence any ad was placed, or any user clicked on an

ad, specifically because the video on that page contained infringing music.




23
   While this alone is sufficient to find that revenue from this sponsorship was not
“directly attributable” to the Videos-in-Suit, that conclusion is confirmed by the
fact that Vimeo did not even create or moderate this channel. JA1139-41; JA1156
(207:6-11).



                                           48
          Case 21-2949, Document 135, 08/30/2022, 3374291, Page58 of 71




Similarly, Google’s proprietary algorithms, not Vimeo, automatically determined

the webpages on which its sponsored links appeared. JA213 (¶64); JA445 (¶7).

      Second, Plaintiffs identify no evidence that Vimeo earned revenue directly

attributable to “drawing” users to the Videos-in-Suit. Br. 53-54. As noted, the

proper inquiry is whether a financial benefit is “directly attributable” to the specific

infringing activity at issue. But even if the Court were to accept Plaintiffs’ “draw”

theory, it fails here because Plaintiffs identify no evidence that users were “drawn”

to Vimeo specifically “because of the infringing material at issue, not just that

copyright infringement generally occurs on the service.” Stross v. Meta Platforms,

Inc., 2022 WL 1843129, at *3 (C.D. Cal. Apr. 6, 2022) (evidence that 40% of

Facebook traffic was to pages displaying infringing content insufficient to show

defendant “drew users to Facebook because of Plaintiff’s infringed works”)

(emphasis added); see also Motherless, 885 F.3d at 613 (no “draw” where

defendant “did not advertise itself as a place to get pirated materials”). Again, the

absence of a “direct” connection to the Videos-in-Suit is dispositive and supports

summary judgment for Vimeo, should the Court reach this issue.

II.   THE DISTRICT COURT CORRECTLY FOUND NO TRIABLE
      ISSUE OF FACT ON VIMEO’S LACK OF “RED FLAG”
      KNOWLEDGE

      Vimeo I’s mandate left no room for doubt: “Vimeo is entitled to summary

judgment” on red flag knowledge unless Plaintiffs prove it would be “obvious” to



                                          49
           Case 21-2949, Document 135, 08/30/2022, 3374291, Page59 of 71




an ordinary person that the use of music in each specific video was not fair or

licensed. 826 F.3d at 96-98.

      Now back before this Court for a second time, Plaintiffs offer the same kind

of evidence the Court rejected the first time. But as the district court correctly

found, “none of the evidence adduced by Plaintiffs on remand carries the high

burden of raising a triable issue of fact as to whether Vimeo employees” had red

flag knowledge that the use of music in the 281 Videos-in-Suit was “obviously”

infringing. SPA121. This Court should affirm.

      A.     Plaintiffs Must Prove An Ordinary Person Would Know The Use
             Of Music In A Video Was “Obviously” Infringing

      It is Plaintiffs’ obligation to “point to evidence sufficient to carry their

burden of proving that Vimeo personnel either knew the video was infringing or

knew facts making that conclusion obvious to an ordinary person who had no

specialized knowledge of music or the laws of copyright.” Vimeo I, 826 F.3d at

98. This is the law of the case.24

      Disregarding this Court’s prior holdings, Plaintiffs ask the Court to treat

Vimeo employees as experienced in “licensing music” (Br. 56) or “aware of the

[purported] legal rule [that] using a song without a license infringes copyright” (Br.

24
   United States v. Olmeda, 837 F. App’x 52, 54 (2d Cir. 2020) (“Under the law-
of-the-case doctrine, this Court will generally adhere to its own decision at an
earlier stage of the litigation,’ and will depart from this rule only for compelling
reasons.”) (quotations omitted).



                                         50
           Case 21-2949, Document 135, 08/30/2022, 3374291, Page60 of 71




62). But the undisputed record cannot support that Vimeo’s employees had such

specialized knowledge, see supra 12, and there plainly is no such “legal rule.” To

the contrary, as Vimeo I explained, infringement of music in a video may not be

“obvious” because a Vimeo employee cannot be expected to: (1) “distinguish ...

between infringements and … fair use”; or (2) “know how likely or unlikely it may

be that the user who posted the material had authorization to use the copyrighted

music,” as “[e]ven an employee who was a copyright expert cannot be expected to

know when use of a copyrighted song has been licensed.” 826 F.3d at 96-97.

      B.     No Reasonable Jury Could Find That Plaintiffs Proved The Use
             Of Music In Any Video-In-Suit Was “Obviously” Infringing
             Under Vimeo I

      On remand, the district court meticulously applied this Court’s standard to

Plaintiffs’ evidence and correctly granted summary judgment to Vimeo. Even

construing all factual inferences in Plaintiffs’ favor, the court correctly found that

their evidence showed, at most, that Vimeo employees were aware of the presence

of music in these 281 Videos-in-Suit, not the presence of “obvious” infringement.

SPA111-21; see also SPA111 (“[t]hese modes of interaction with infringing videos

say nothing about the employee’s knowledge as to whether the use of such music

was authorized or fair”).

      While Vimeo I recognized there are “many reasons” why the use of music in

a video would not be “obviously” infringing to an ordinary person, 826 F.3d at 94,



                                         51
          Case 21-2949, Document 135, 08/30/2022, 3374291, Page61 of 71




the Court need look only to two to resolve this appeal: the lack of evidence that

music in a Video-in-Suit was obviously (1) not fair use or (2) not authorized.25

             1.     There Is Not Legally Sufficient Evidence Showing The Use
                    Of Music In Any Video-In-Suit “Obviously” Was Not Fair

      Vimeo I held that a “service provider’s employee cannot be expected to

know how to distinguish … between infringements and … fair use.” Id. at 97.

Here, every Video-in-Suit incorporates an audio component into a separate,

original visual component (JA1158 (¶1)), and Plaintiffs do not assert copyrights in

the visual components of the Videos-in-Suit (JA1171 (¶2)). In light of such

transformative use of music as part of the user’s audiovisual creation, Plaintiffs

adduced no evidence that it would have been “obvious” to a Vimeo employee on

sight that the particular use of music in this context was not a fair use.

      Plaintiffs do not seriously challenge that proposition, dedicating just one

page in their entire brief to fair use. Br. 59. Nor do Plaintiffs engage in a Video-

by-Video assessment of whether a particular use of music in a Video-in-Suit was

fair use under well-established transformative use precedent; indeed, they do not

venture to analyze a single Video-in-Suit. Instead, they ask the Court to adopt a


25
   Plaintiffs also did not raise a triable issue to establish that Vimeo staff who
“interacted” with the Videos-in-Suit: (1) watched each Video for more than a brief
period; or (2) did so for the purpose of assessing infringement of a musical work,
Vimeo I, 826 F.3d at 96, both of which independently support affirmance. See
JA1185-89 (¶¶22-28).



                                          52
          Case 21-2949, Document 135, 08/30/2022, 3374291, Page62 of 71




blanket rule that, as a matter of law, any use of music in a user-uploaded video is

obviously not fair use. See Br. 62 (identifying “the legal rule governing this case”

as “using a song without a license infringes copyright”). This “legal rule” not only

violates Vimeo I, but would upend decades of fair use precedent.

      This Court is familiar with the complex nature of fair use, which presents

“an open-ended and context-sensitive inquiry,” Cariou v. Prince, 714 F.3d 694,

705 (2d Cir. 2013), that “is not to be simplified with bright-line rules,” Campbell v.

Acuff-Rose Music, Inc., 510 U.S. 569, 577 (1994). Indeed, in the 2022 Term, the

U.S. Supreme Court is scheduled to consider an appeal from this Court addressing

whether Andy Warhol’s incorporation into an artwork of an entire photograph of

the musician Prince was or was not a fair use. Andy Warhol Found. for Visual

Arts, Inc. v. Goldsmith, No. 21-869 (cert. granted Mar. 28, 2022). That case

demonstrates just how far from “obvious” this inquiry is. See id., 11 F.4th 26, 52

(2d Cir. 2021) (fair use cannot be based on “simplistic formulas,” but rather

requires “contextual balancing based on principles that will lead to close calls in

particular cases”). Courts recognize that the incorporation of one image entirely

into another work can be fair. See, e.g., Cariou, 714 F.3d at 708 (“appropriation”

artist fairly incorporated entire photograph into new paintings); Seltzer v. Green

Day, Inc., 725 F.3d 1170, 1179 (9th Cir. 2013) (band fairly incorporated entire

artwork throughout four-minute music video).



                                         53
         Case 21-2949, Document 135, 08/30/2022, 3374291, Page63 of 71




      Music cases are no different. As this Court held just last year, incorporating

a song into a movie can be a fair use as a matter of law. Brown v. Netflix, Inc., 855

F. App’x 61, 62 (2d Cir. 2021); see also, e.g., Sketchworks Indus. Strength

Comedy, Inc. v. Jacobs, 2022 WL 1501024, at *2, *9 (S.D.N.Y. May 12, 2022)

(use of plaintiffs’ songs and tracks in theater production fair); Red Label Music

Publ’g, Inc. v. Chila Prods., 388 F. Supp. 3d 975, 979 (N.D. Ill. 2019) (use of song

in film fair); Chapman v. Maraj, 2020 WL 6260021, at *11 (C.D. Cal. Sept. 16,

2020) (use of original song as form of “artistic experimentation” fair); Threshold

Media Corp. v. Relativity Media, LLC, 2013 WL 12331550, at *5 (C.D. Cal. Mar.

19, 2013) (use of songs in film fair); Lennon v. Premise Media Corp., 556 F. Supp.

2d 310, 327 (S.D.N.Y. 2008) (use of song Imagine in film fair); Italian Book Corp.

v. Am. Broad. Cos., 458 F. Supp. 65, 71 (S.D.N.Y. 1978) (use of song in news

video fair). This is just as true of “lip dub” videos—about which Plaintiffs go on at

length (see Br. 14-15, 40-41, 52)—which contain both visual and audio material:

“With this type of video, fair use is an open relevant question.” SPA117.

      Even Universal Music, corporate parent of the Plaintiff recording companies

(see Br. i) has acknowledged that fair use cannot be determined based upon mere

“viewing” of a video because the copyright holder lacks “information uniquely

within the knowledge of the user who incorporated the original work.” Appellants’

Third Brief on Cross-Appeal at 16, Lenz v. Universal Music Corp., No. 13-



                                         54
          Case 21-2949, Document 135, 08/30/2022, 3374291, Page64 of 71




16106(L), Dkt. 56 (9th Cir. Feb. 4, 2014). If Plaintiffs cannot form a view whether

the use of their own song in a video is fair, the absence of fair use cannot be

obvious to a Vimeo employee.26

      Ignoring this substantial body of fair-use law, Plaintiffs instead point to

Vimeo informing individual users that adding third-party copyrighted content to a

video “generally (but not always) constitutes copyright infringement.” Br. 59.

While perhaps conservative (as one would expect from a site hosting user content),

the statement is consistent with fair use—use of copyrighted content is “not

always” infringing (let alone obviously so). And such a generalization certainly

cannot serve as a proxy for what would be obvious in a particular case.

      Nor does it matter that Vimeo staff were told at a meeting (held after

Plaintiffs sent their first letter to Vimeo) to not include unlicensed music in their

own videos they personally upload. Br. 59; JA336 (¶67). Whether Vimeo is

protected by safe harbor for employee infringement presents a different question,

so taking a conservative approach on employees’ personal works makes sense.

Moreover, Plaintiffs cite no evidence that fair use was even mentioned at that

26
   Plaintiffs’ amici seem to argue Plaintiffs’ fair use legal position on their behalf,
offering a rule that use of music in an original video can never be fair, and
obviously so. See NMPA Br. 22-26. Those amici do not address the law above,
offer no analysis of the use of music in any specific Video-in-Suit, and do not
acknowledge the transformative nature of combining an audio element (music)
with an entirely different visual component.



                                          55
         Case 21-2949, Document 135, 08/30/2022, 3374291, Page65 of 71




“meeting,” and in any event, an employee being directed in an exercise of caution

to not post her own videos with unlicensed music cannot confer knowledge that

every video containing music she might ever see must “obviously” be infringing.

            2.     There Is Not Legally Sufficient Evidence Showing The Use
                   Of Music In Any Video-In-Suit “Obviously” Was Not
                   Authorized

      Plaintiffs’ failure to identify evidence showing that the use of music in each

Video-in-Suit was obviously not a fair use is enough alone to affirm the district

court’s red flag ruling in Vimeo’s favor. But the Court may also rely on Plaintiffs’

failure to identify evidence showing that it would be obvious to an ordinary person

that the use of music in any Video-in-Suit was unauthorized.

      Vimeo I already recognized that a Vimeo employee cannot “be automatically

expected to know how likely or unlikely it may be that the user who posted the

material had authorization to use the copyrighted music.” 826 F.3d at 97. As the

district court correctly ruled, Plaintiffs identified no evidence that it would have

been obvious to an ordinary person that the use of music in any of the Videos-in-

Suit was not authorized. The absence of such evidence is dispositive on this issue.

      First, while Plaintiffs argue that certain staff members at Vimeo knew that

licensing music for use in videos could be “confusing” or “painful” (Br. 56, 60),

this cannot give rise to an inference that it was obvious that the music in any

specific Video-in-Suit was, in fact, not licensed. Indeed, such acknowledgments



                                        56
         Case 21-2949, Document 135, 08/30/2022, 3374291, Page66 of 71




demonstrate it is possible to obtain licenses (and that such licenses have been

obtained); such generalized statements certainly cannot make it “obvious” to an

ordinary person that, in fact, no license was ever obtained for a specific video. On

this point, Plaintiffs’ amici support Vimeo—if music licensing is “complex”

(NMPA Br. 8), then an ordinary person cannot be expected to know the outcome

of any given licensing effort.27 But this is academic—Plaintiffs simply “adduced

no evidence, either in general or specific to the Videos-in-Suit, to suggest that

Vimeo employees had such knowledge in this case.” SPA122.

      Plaintiffs’ theory is further undermined by the fact that multiple Videos-in-

Suit indicated the music used was authorized, so any infringement could not be

“obvious.” See, e.g., JA1383-84 (description states: “Commissioned by Nicola

Brown for Virgin/EMI”); JA1407 (“license exclusive EMI Music France”). Vimeo

users also submitted DMCA counter-notifications, including for videos and songs

Plaintiffs’ asserted in this action.   JA1181 (¶13) (“our contract with Capitol

Records stipulates that we may use a copy of the music video to promote ourselves

as Directors”); JA1160-61 (¶¶14-15). Nor can such a determination be made based

on whether a subjective assessment that a video was “clearly unsophisticated.” Br.

27
    Plaintiffs’ amici further err (NMPA Br. 17-20) by looking only to examples of
current “platform-level licenses” for use of music in user-created videos, not
licensing models as they may have existed in May 2012 (by which time all of the
Videos-in-Suit had been removed). JA86 (¶50).



                                        57
          Case 21-2949, Document 135, 08/30/2022, 3374291, Page67 of 71




57. See Motherless, 885 F.3d at 608-09 (“apparent amateurism may be a skilled

professional means of giving them an appearance of authenticity”). Nothing about

this exercise is obvious.

      Second, Plaintiffs err in suggesting (Br. 56, 60-61) that, because Vimeo

employees supposedly uploaded their own videos without securing licenses, a jury

could speculate that (1) they did so because getting licenses is “impractical[],” and

so (2) they must have known that uploaders of the Videos-in-Suit did not get them

either. Such speculation on top of speculation about whether a Vimeo employee

tried to obtain a license (or even needed one) for her own video says nothing about

whether it would have been obvious that other users who uploaded the Videos-in-

Suit did or did not have licenses. See Vimeo I, 826 F.3d at 99 (red flag knowledge

must “relate to specific infringements”); Robinson v. Concentra Health Servs.,

Inc., 781 F.3d 42, 44 (2d Cir. 2015) (party cannot rely on inferences based on

“speculation” to defeat summary judgment).

      Third, Plaintiffs fare no better in arguing that their earlier cease-and-desist

letters to Vimeo alleging infringement as to different videos should confer red flag

knowledge upon all Vimeo employees as to these 281 specific videos merely

because they involved the same artists. Br. 57-58. As the district court correctly

recognized, “[t]he fact that an artist’s copyright was previously infringed on Vimeo

does not suffice to indicate to an employee whether use of that artist’s work in a



                                         58
         Case 21-2949, Document 135, 08/30/2022, 3374291, Page68 of 71




subsequent video is authorized.” SPA118-19 (emphasis added). This is because

“past notices do not identify and locate other, and future, infringing activity.”

Wolk, 2011 WL 940056, at *5 (S.D.N.Y. Mar. 17, 2011); see also UMG

Recordings, 718 F.3d at 1023 (“just because UMG owns the copyrights for some

Britney Spears songs does not mean it owns the copyright for all Britney Spears

songs”). 28 To hold otherwise not only would constitute an end-run around the

DMCA’s notice-and-takedown regime, but would improperly require Vimeo

“constantly to take stock of all information their employees may have acquired that

might suggest the presence of infringements in user postings, and to undertake

monitoring investigations whenever some level of suspicion was surpassed,” which

would “largely undo the value of § 512(m).” Vimeo I, 826 F.3d at 98-99.




28
   In contrast, the defendant in EMI Christian Music Grp., Inc. v. MP3tunes, LLC,
844 F.3d 79 (2d Cir. 2016) (cited at Br. 61), admitted to having actual knowledge
that all Beatles tracks distributed before 2010, no matter how used, were
unauthorized because such tracks had never even been made available in digital
format. Id. at 92-93. And that case presented no fair use issues, as the defendant
simply hosted pure files of audio tracks. SPA106 n.2.



                                        59
        Case 21-2949, Document 135, 08/30/2022, 3374291, Page69 of 71




                              CONCLUSION

     The Court should affirm the judgment below.


Dated: August 30, 2022                    Respectfully submitted,

                                          /s/ Todd Anten
                                          Todd Anten
                                          Owen F. Roberts
                                          QUINN EMANUEL URQUHART &
                                            SULLIVAN, LLP
                                          51 Madison Avenue, 22nd Floor
                                          New York, New York 10010

                                          Kathleen M. Sullivan
                                          QUINN EMANUEL URQUHART &
                                           SULLIVAN, LLP
                                          865 South Figueroa Street, 10th Floor
                                          Los Angeles, California 90017

                                          Rachel Kassabian
                                          QUINN EMANUEL URQUHART &
                                           SULLIVAN, LLP
                                          555 Twin Dolphin Drive, 5th Floor
                                          Redwood Shores, California 94065

                                          Michael A. Cheah
                                          VIMEO, INC.
                                          330 West 34th Street, 5th Floor
                                          New York, New York 10001

                                          Attorneys for Defendants-Appellees
                                          Vimeo, Inc. and Connected Ventures,
                                          LLC




                                     60
         Case 21-2949, Document 135, 08/30/2022, 3374291, Page70 of 71




          CERTIFICATE OF COMPLIANCE WITH RULE 32(a)

1.   This brief complies with the type-volume limitations of Fed. R. App. P.

     32(a)(7)(B) and Second Circuit Local Rule 32.1(a)(4)(A) because this brief

     contains 13,997 words (based on the Microsoft Word word-count function),

     excluding the parts of the brief exempted by Fed. R. App. P. 32(a)(7)(B)(iii).

2.   This brief complies with the typeface requirements of Fed. R. App. P.

     32(a)(5) and the type style requirements of Fed. R. App. P. 32(a)(6) because

     this brief has been prepared in a proportionately spaced typeface using

     Microsoft Word in 14 point Times New Roman.


Date: August 30, 2022

                                            /s/ Todd Anten
                                            Todd Anten
                                            QUINN EMANUEL URQUHART &
                                              SULLIVAN, LLP
                                            51 Madison Avenue, 22nd Floor
                                            New York, New York 10010




                                       61
         Case 21-2949, Document 135, 08/30/2022, 3374291, Page71 of 71




                CERTIFICATE OF FILING AND SERVICE

      I hereby certify that on August 30, 2022, the FINAL FORM BRIEF FOR

DEFENDANTS-APPELLEES was electronically filed and served on all parties or

their counsel of record through the CM/ECF system, pursuant to Second Circuit

Local Rule 25.1(h).


Date: August 30, 2022

                                           /s/ Todd Anten
                                           Todd Anten
                                           QUINN EMANUEL URQUHART &
                                             SULLIVAN, LLP
                                           51 Madison Avenue, 22nd Floor
                                           New York, New York 10010




                                      62
